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20
                         UNITED STATES DISTRICT COURT
21                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
22
       SONOS, INC.,                                 Case No. 2:20-cv-00169
23
                    Plaintiff,
24
             v.                                     COMPLAINT FOR PATENT
25                                                  INFRINGEMENT
26     GOOGLE LLC,
                                                    JURY TRIAL DEMANDED
27                  Defendant.
28
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 1                   COMPLAINT FOR PATENT INFRINGEMENT
 2          Plaintiff Sonos, Inc. (“Sonos” or “Plaintiff”) hereby asserts the following
 3    claims for patent infringement of United States Patent Nos. 8,588,949, 9,195,258,
 4    9,219,959, 10,209,953, and 10,439,896 (“patents-in-suit”; attached hereto as
 5    Exhibits 1-5 respectively) against Defendant Google LLC (“Google” or
 6    “Defendant”), and alleges as follows:
 7                                   INTRODUCTION
 8          1.     In the early 2000s, Sonos pioneered what is known as wireless multi-
 9    room audio, bringing its first commercial products to market in 2005.            In
10    recognition of its wide-ranging innovations, the U.S. Patent & Trademark Office
11    has granted Sonos more than 750 patents, including the patents-in-suit. The
12    innovations captured by these patents cover many important aspects of wireless
13    multi-room audio devices/systems, including, for example, how to set up a playback
14    device on a wireless local area network, how to manage and control groups of
15    playback devices (e.g., how to adjust group volume of playback devices and how
16    to pair playback devices together for stereo sound), and how to synchronize the play
17    back of audio within groups of playback devices.
18          2.     As early as 2013, Google gained knowledge of Sonos’s patented multi-
19    room technology through a partnership with Sonos to integrate Google Play Music
20    into the Sonos platform. However, just two years later in 2015, Google began
21    willfully infringing Sonos’s patents when it launched its first wireless multi-room
22    audio product – Chromecast Audio. Since 2015, Google’s misappropriation of
23    Sonos’s patented technology has only proliferated, as Google has expanded its
24    wireless multi-room audio system to more than a dozen different infringing
25    products, including, for example, the Google Home Mini, Google Home, Google
26    Home Max, and Pixel phones, tablets, and laptops. Worse still, Google has
27    persisted despite the fact that Sonos has warned Google of its infringement on at
28    least four separate occasions dating back to 2016.

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 1          3.     The harm produced by Google’s infringement has been profoundly
 2    compounded by Google’s business strategy to use its multi-room audio products to
 3    vacuum up invaluable consumer data from users and, thus, further entrench the
 4    Google platform among its users and ultimately fuel its dominant advertising and
 5    search platforms. In furtherance of this strategy, Google has not merely copied
 6    Sonos’s patented technology, it has also subsidized the prices of its patent-
 7    infringing products, including at the entry level, and flooded the market. These
 8    actions have caused significant damage to Sonos.
 9          4.     Sonos has brought this lawsuit to hold Google accountable for its
10    willful infringement of Sonos’s patent rights.
11                                 SONOS’S INNOVATION
12          5.     Founded in 2002, Sonos invented what is known today as wireless
13    multi-room audio. Ex. 6 (2013 NBC News: “If you’re not familiar with Sonos, this
14    company revolutionized the home audio world a decade ago….”); Ex. 7 (2015
15    Men’s Journal: “Sonos almost singlehandedly established the stand-alone wireless
16    home speaker system category….”).
17          6.      At the time of Sonos’s founding, multi-room audio systems were
18    dependent on a centralized receiver hard-wired to each individual passive speaker
19    throughout a home or business. In sharp contrast, Sonos’s system eliminated this
20    dependency and, instead, relies on intelligent, networked playback devices to
21    deliver premium sound wirelessly throughout a home or business.                   While
22    conquering the challenge of inventing a multi-room wireless audio system was
23    difficult in its own right, Sonos also built a system that is easy to setup, easy to use,
24    customizable, readily integrated with other technologies and services, and effective
25    in delivering outstanding sound quality in any home or business environment. See,
26    e.g., Ex. 8 (2005 PC Magazine: describing one of Sonos’s first products as “the
27    iPod of digital audio” for the home and contrasting Sonos with conventional home
28    audio systems that required “dedicated wiring”).

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 1          7.    An early sketch of Sonos’s wireless multi-room audio architecture is
 2    shown below:
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14          8.    Sonos launched its first commercial products in 2005 and has since
15    released a wide variety of wireless multi-room audio products, including, for
16    example, the Play:1, Play:3, Play:5 (Gen 1 and Gen 2), One (Gen 1 and Gen 2),
17    One SL, Move, Playbar, Playbase, Beam, Sub, Connect, Port, Connect:Amp, and
18    Amp. See, e.g., Ex. 9. Sonos’s products can be set up and controlled by the Sonos
19    app. Id.
20          9.    A sampling of Sonos’s product lineup is shown below.
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 1          10.    Sonos’s products are consistently hailed as setting the standard for the
 2    industry. See, e.g., Ex. 10 (2018 Digital Trends: “Sonos is the king of multiroom
 3    audio . . . .”); Ex. 11 (2019 What Hi-Fi: “[N]o multi-room offering is as complete
 4    or as pleasurable to live with as Sonos.”).
 5          11.    Sonos’s products are also compatible with many different third-party
 6    music streaming services and Sonos has entered into partnerships with dozens of
 7    them to integrate their services into the Sonos platform. See, e.g., Ex. 12. For
 8    example, in 2013, Sonos started working closely with Google to integrate the
 9    Google Play Music streaming service and Google Play Music launched on the
10    Sonos platform in 2014 (with Google’s YouTube Music service added later). See,
11    e.g., Ex. 13. As recognized at the time, Sonos’s integration work with Google was
12    especially “deep” and gave Google a wide aperture through which to view Sonos’s
13    proprietary technology. Id. (2014 Wired: “Now, Google Play Music will be
14    available as an option to Sonos owners via the Sonos controller app (iOS, Android,
15    and web). And, for the first time, the Google Play Music Android app is getting
16    updated with a button that lets users easily play music from any Sonos speaker in
17    the house. This is the first time this sort of deep integration has happened between
18    a third party music service and Sonos.”).
19          12.    As a pioneer in wireless audio, Sonos has been and continues to be at
20    the forefront of technological innovation and diligently protects its inventions.
21    Leading outside organizations have recognized the value of Sonos’s ingenuity. For
22    example, Sonos earned a spot on the IPO list of “Top 300 Organizations Granted
23    U.S. Patents” and the IEEE recognized Sonos as having one of “[t]he technology
24    world’s most valuable patent portfolios.” See Exs. 14, 15. Currently, Sonos is the
25    owner of more than 750 United States Patents related to audio technology, as well
26    as more than 420 pending United States Patent Applications. Sonos’s patents cover
27    important aspects of wireless multi-room audio systems, such as setting up a
28    playback device on a wireless local area network, managing and controlling groups

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 1    of playback devices (e.g., adjusting group volume of playback devices and pairing
 2    playback devices together for stereo sound), and synchronizing playback of audio
 3    within groups of playback devices. These features are covered by the patents-in-
 4    suit.
 5            13.   Sonos identifies many of its patents on the “Patents” webpage of
 6    Sonos’s website. See Ex. 16. In addition, Sonos encloses notices of its patents with
 7    its product inserts/manuals, which state that “[o]ur patent-to-product information
 8    can be found here: sonos.com/legal/patents.” See, e.g., Exs. 9, 17. Sonos also
 9    provides a link in the Sonos app to sonos.com/en-us/legal/terms through which the
10    “Patents” webpage of Sonos’s website can be accessed. See Ex. 18.
11                             GOOGLE’S INFRINGEMENT
12            14.   In 2015, a decade after Sonos’s first product launch, Google released
13    its “Chromecast Audio” – an audio adapter/dongle that can turn a speaker with an
14    auxiliary port into a wireless, networked speaker. While the Chromecast Audio
15    product did not launch with Sonos’s patented multi-room audio functionality,
16    Google clearly understood the importance of this popular audio feature as it
17    released a multi-room audio software update only a couple of months after launch.
18    See Ex. 19 (2015 The Guardian: “Google is also working on multi-room audio
19    streaming using the Chromecast Audio, but it will not support the popular feature
20    out of the box.”).
21            15.   In announcing its multi-room software update, Google explained the
22    importance of this added functionality:
23            A couple of months ago we launched Chromecast Audio. . . . Today
24            we’re starting to add two new features to the latest software update to
25            elevate your listening experience. . . . Now you can easily fill every
26            room in your home-bedroom, kitchen, living room, or wherever you
27            have a Chromecast Audio connected-with synchronous music. Multi-
28            room lets you group Chromecast Audio devices together so you can

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 1          listen to the same song on multiple speakers.
 2    Ex. 20 (December 2015 Google Chrome Blog).
 3          16.     As observed in a 2015 Variety article entitled “Google’s Chromecast
 4    Audio Adapter Gets Multi-Room Support Similar to Sonos,” Google’s updated
 5    Chromecast Audio was considered a “major” advancement for Google and was
 6    recognized as competing directly with Sonos because of its similar multi-room
 7    capability:
 8          Google’s recently-launched Chromecast Audio adapter is getting a
 9          major feature update this week: Consumers will now be able to group
10          multiple Chromecast audio adapters to stream their favorite music
11          simultaneously in more than one room, similar to the multi-room
12          support available for internet-connected loudspeakers like the ones
13          made by Sonos.
14    Ex. 21.
15          17.     To control the multi-room Chromecast Audio, Google also provided a
16    Chromecast app with multi-room audio functionality similar to the Sonos app. As
17    observed in a 2015 article by Pocket-Lint, Google’s multi-room app “can pretty
18    much do the same thing” as Sonos’s app:
19          [Chromecast Audio]’s been updated to make it more comparable to
20          Sonos, a smart speaker system that wirelessly streams all your Hi-Fi
21          music to any room, or every room. You control your Sonos experience
22          with one app. Well, thanks to a new software rollout, Chromecast
23          Audio can pretty much do the same thing.
24    Ex. 22.
25          18.     The media comparisons between Google’s Chromecast Audio and
26    Sonos’s products are a result of the fact that, on information and belief, Google
27    copied key features from Sonos. These features include, for example, Sonos’s
28    patented technology for setting up a playback device on a wireless local area

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 1    network, adjusting group volume of playback devices, and synchronizing playback
 2    of audio within groups of playback devices.
 3          19.   Moreover, as explained above, Google released the Chromecast Audio
 4    merely two years after partnering with Sonos to integrate Google Play Music into
 5    the Sonos platform. On information and belief, Google exploited the knowledge of
 6    Sonos’s system that it gained from this integration work to develop its multi-room
 7    Chromecast Audio product and infringe Sonos’s patents.
 8          20.   Over the next four years, Google aggressively expanded its line of
 9    multi-room wireless audio products through new product releases and software
10    updates. On information and belief, with each iteration, Google’s copying of
11    Sonos’s products and patented technology became even more blatant.
12          21.   For example, , on information and belief, in 2016, a year after Google
13    launched the Chromecast Audio wireless adapter, Google escalated its copying of
14    Sonos by releasing the Google Home multi-room audio player (which was
15    controlled by Google’s rebranded multi-room controller app – the Google Home
16    app). Unlike the Chromecast Audio, the Google Home added an internal speaker
17    driver making it an “all-in-one” audio player akin to Sonos’s prior Play:1, Play:3,
18    and Play:5 products.
19          22.   As with the Chromecast Audio, the Google Home was recognized as
20    a direct attack on Sonos. When the Google Home was announced, for example,
21    The Register observed that “[n]o market is safe from [the] search engine monster”
22    and that Google was in particular “offering new products to compete with Sonos in
23    the music streaming market.” See Ex. 23. The Register also further noted the
24    conspicuous similarity that multiple “Google Homes will work with one another,
25    allowing music to be spread into different rooms on command - like the very
26    popular Sonos music system.” Id.
27          23.   Like The Register, The Verge also recognized the similarities between
28    the new infringing Google Home and Sonos’s prior products: “You can also group

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 1    multiple Home units together and play music through all of them simultaneously,
 2    similar to how Sonos works.” See Ex. 24.
 3          24.   Again, the media comparisons between Google’s Home and Sonos’s
 4    products reflected a darker truth that, on information and belief, Google had
 5    misappropriated Sonos’s innovations. These innovations include, for example,
 6    Sonos’s patented technology for setting up a playback device on a wireless local
 7    area network, adjusting group volume of playback devices, and synchronizing
 8    playback of audio within groups of playback devices. Notably, Google launched
 9    the Google Home product in November 2016 despite Sonos’s prior warnings of
10    infringement in August and October, as set forth below.
11          25.   On information and belief, the Google Home proved to be merely
12    another forerunner to further copying by Google. In 2017, Google released two
13    additional “all-in-one” wireless multi-room products – the Google Home Max and
14    the Google Home Mini. Google’s Home Max in particular was seen as a “Sonos
15    Clone” and a “not-so-subtle copy of the [Sonos] Play:5 speaker . . . .” Ex. 25. As
16    explained by Gizmodo, “[i]t’s also hard not to see the [Google Home Max] device
17    as something of a jab at Sonos.” Id.; see also, e.g., Ex. 26 (2017 Android Central:
18    “You can’t help but look at Google Home Max . . . and come to the conclusion that
19    Google is sticking its nose where Sonos has been for years.”).
20          26.   As with Google’s other prior infringing products, on information and
21    belief, Google also copied Sonos’s patented technology for the Google Home Max.
22    This patented technology includes, for example, Sonos’s patented technology for
23    setting up a playback device on a wireless local area network, adjusting group
24    volume of playback devices, and synchronizing playback of audio within groups of
25    playback devices. With the Google Home Max, however, Google copied even
26    more of Sonos’s patented technology than it did with Google’s previous wireless
27    audio products. For instance, the Google Home Max also copied Sonos’s patented
28    “pairing” technology, which allows two playback devices to be paired together for

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 1     stereo sound.
 2           27.    In contrast to the Google Home Max, which was priced similarly to
 3     Sonos’s comparable products, the Google Home Mini predatorily implemented
 4     Sonos’s valuable patented technology into an all-in-one wireless multi-room
 5     product that Google sells at a super-cheap subsidized price point or even gives away
 6     for free. Ex. 27 (“At $49, Google Home Mini works on its own or you can have a
 7     few around the house, giving you the power of Google anywhere in your home.”);
 8     Ex. 28 (“Google partnered with Spotify to offer Home Minis as a free promotion
 9     for Spotify Premium customers. Spotify’s premium userbase is nearly 90 million,
10     so if even a fraction of users take the free offer, a massive influx of Google smart
11     speakers will enter the market.”). As is well understood, Google uses its Home
12     Mini as a “loss leader” to generate additional revenue from other revenue streams
13     that are bolstered and/or enabled by the sale of Google’s wireless multi-room audio
14     products. See, e.g., Ex. 28 (explaining that Google is using its smart speaker
15     devices as a “‘loss leader’ to support advertising or e-commerce.”).
16           28.    On information and belief, Google’s pervasive copying of Sonos’s
17     products and patented technology has resulted in an infringing product line that now
18     includes at least the Chromecast, Chromecast Ultra, Chromecast Audio, Home
19     Mini, Nest Mini, Home, Home Max, Home Hub, Nest Hub, Nest Hub Max, and
20     Nest Wifi Point (individually or collectively, “Google Audio Player(s)”), all of
21     which can be controlled by, for example, the Google Home app, Google Play Music
22     app, and YouTube Music app (individually or collectively, “Google App(s)”). See,
23     e.g., Exs. 29-39.1
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27     1
        Any reference to a “Google Audio Player” or a “Google App” includes each
28     version and generation of such player/app unless otherwise noted.
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 1           29.    The image below shows a few of the infringing Google Audio Players.
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10           30.    In addition to providing the various software Google Apps for
11     controlling the Google Audio Players, Google also offers various infringing
12     hardware controller devices that are pre-installed with the Google Play Music app
13     or YouTube Music app (and capable of downloading and executing the Google
14     Apps that are not pre-installed). These infringing hardware controller devices
15     include, for example, Google’s “Pixel” phones, tablets, and laptops (e.g., the Pixel
16     3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, and Pixel 4 XL phones, the Pixel Slate
17     tablet, and the Pixelbook and Pixelbook Go laptops) (individually or collectively,
18     “Google Pixel Device(s)”). See, e.g., Exs. 40-43.2
19           31.    Herein, “Google Wireless Audio System” refers to one or more
20     Google Audio Players, one or more Google Pixel Devices, and/or one or more
21     Google Apps.
22                         GOOGLE’S UNJUST ENRICHMENT
23           32.    Google’s infringement of Sonos’s patented inventions has paved the
24     way for Google to generate billions of dollars in revenue. A December 2018 market
25     report by Royal Bank of Canada, for example, concluded that Google has sold over
26     40 million Google Home devices in the U.S. and that Google generated $3.4 billion
27     2
        Any reference to a “Google Pixel Device” includes each version and generation
28     of such device unless otherwise noted.
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 1     in Google Home revenue in 2018 alone. Ex. 44 at p. 1, 4, 14-15. Royal Bank of
 2     Canada also found that, as of August 2017, Google had sold more than 55 million
 3     Chromecast devices and that Google generated $998 million in Chromecast revenue
 4     in 2018. Id. at p. 4, 16. Further, Royal Bank of Canada estimated that, in 2018,
 5     Google generated $3.4 billion in Pixel device revenue. Id. at p. 4, 16, 18.
 6           33.    Moreover, the revenue obtained from sale of Google’s hardware
 7     devices presents an incomplete picture of the full value to Google, as Google is
 8     selling the infringing products at a discount and/or as a “loss leader” to generate
 9     future revenue. For instance, on information and belief, Google’s copying of
10     Sonos’s patented inventions has helped and/or will help Google generate significant
11     revenue from the use of Google’s hardware devices including advertising, data
12     collection, and search via the Google Wireless Audio Systems. As the New York
13     Post explained, “Amazon and Google both discounted their home speakers so
14     deeply over the holidays that they likely lost a few dollars per unit . . . hoping to
15     lock in customers and profit from later sales of goods and data about buying habits.”
16     Ex. 45. Similarly, News Without Borders explained that companies like Google are
17     using their “smart speaker” devices as “‘loss leader[s]’ to support advertising . . . .”
18     Ex. 28.
19           34.    On information and belief, Google’s copying of Sonos’s patented
20     inventions has also helped and/or will help Google generate significant revenue
21     from driving its users to make follow-on purchases such as streaming music
22     subscriptions and retail purchases via the Google Wireless Audio Systems. For
23     example, an NPR “smart speaker” survey found that 28% of survey respondents
24     agreed that “[g]etting a Smart Speaker led [them] to pay for a music subscription
25     service,” and Google offers two such subscriptions – Google Play Music and
26     YouTube Music. Ex. 46 at p. 20. Likewise, the NPR survey also found that 26%
27     of respondents use their smart speakers “regularly” to “add [items] to shopping
28     list.” Id. at p. 15; see also, e.g., Ex. 28 (stating that companies like Google are using

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 1     their “smart speaker” devices as “‘loss leader[s]’ to support . . . e-commerce.”).
 2                       GOOGLE’S INFRINGEMENT IS WILLFUL
 3            35.    Google has undertaken this infringing conduct knowingly and
 4     willfully. Indeed, Google had actual and/or constructive knowledge of Sonos’s
 5     patents for years prior to the filing of this action.
 6            36.    More specifically, Sonos raised the issue of infringement with Google
 7     as early as August 2016. In October 2016, Sonos put Google on notice of
 8     infringement of 28 Sonos patents, including asserted United States Patent Nos.
 9     8,588,949, 9,195,258, and 9,219,959. Later in January 2018, and then again in July
10     2018, Sonos put Google on notice of infringing even more Sonos patents. Yet
11     again, in February 2019, Sonos put Google on notice of infringement of 100 Sonos
12     patents, including asserted United States Patent No. 10,209,953. In addition, Sonos
13     provided a pre-filing copy of this Complaint to Google, thereby providing further
14     notice of infringement of the patents-in-suit, including United States Patent No.
15     10,439,896.
16            37.    As another example, Google has been aware of (or, at a minimum, was
17     willfully blind to) Sonos’s patents well before August 2016 in view of Sonos’s
18     previously-filed patent litigation against D&M (another direct competitor of Sonos
19     and Google) and its infringing Denon HEOS system – Sonos Inc. v. D&M Holdings,
20     Inc., C.A. No. 14-1330-RGA (D. Del.) (“the D&M Litigation”). See Ex. 47. This
21     prior litigation, initiated in 2014, lasted more than three years, garnered media
22     attention across the industry, and resulted in a jury verdict for Sonos on all counts,
23     including, inter alia, willful infringement of two of the patents-in-suit asserted here
24     against Google – United States Patent Nos. 8,588,949 and 9,195,258. See, e.g., Ex.
25     48 (2014 VentureBeat article entitled “Sonos sues Denon, alleging wireless speaker
26     patent infringement”); Ex. 49 (2014 CNET article entitled “Sonos sues Denon for
27     ‘copying’ its wireless products”); Ex. 50 (Sonos v D&M jury Verdict Form finding
28     for Sonos on all counts).

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 1           38.    Further, Google has also been aware of (or, at a minimum, was
 2     willfully blind to) Sonos’s patents well before Sonos provided Google notice of
 3     infringement because Google’s development of competitive products since the
 4     launch of its Google Wireless Audio System in 2015 occurred against the backdrop
 5     of: 1) a decade in which Sonos was the recognized pioneer in the wireless audio
 6     industry; 2) Google’s partnership with Sonos dating to at least as early as 2013; and
 7     3) Sonos’s prominent display of its patents on Sonos’s website, and Sonos’s
 8     inclusion of a notice of its patents in Sonos’s product inserts/manuals as well as the
 9     Sonos app.
10                                        THE PARTIES
11           39.    Plaintiff Sonos, Inc. is a Delaware corporation with its principal place
12     of business at 614 Chapala Street, Santa Barbara, California 93101. Sonos is the
13     owner of the patents-in-suit.
14           40.    Defendant Google LLC is a Delaware limited liability corporation
15     with its principal place of business at 1600 Amphitheatre Parkway, Mountain View,
16     CA 94043. Google LLC also maintains other established places of business,
17     including established places of business in this district at, for example, 340 Main
18     St, Venice, CA 90291 and 12422 W Bluff Creek, Playa Vista, CA 90094.
19           41.    Google LLC is one of the largest technology companies in the world
20     and conducts product development, engineering, sales, and online retail, search, and
21     advertising operations in this district.
22           42.    Google     LLC     directly   and/or    indirectly   develops,    designs,
23     manufactures, distributes, markets, offers to sell, sells, and/or imports the infringing
24     Google Wireless Audio System at issue in this litigation in/into the United States,
25     including in the Central District of California, and otherwise purposefully directs
26     infringing activities to this District in connection with its Google Wireless Audio
27     System.
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 1                               JURISDICTION AND VENUE
 2           43.    As this is a civil action for patent infringement arising under the patent
 3     laws of the United States, 35 U.S.C. § 1 et seq., this Court has subject matter
 4     jurisdiction over the matters asserted herein under 28 U.S.C. §§ 1331 and 1338(a).
 5           44.     This Court has personal jurisdiction over Google because, pursuant to
 6     Fed. R. Civ. P. 11(b)(3), Google has: (1) availed itself of the rights and benefits of
 7     the laws of the State of California, (2) transacted, conducted, and/or solicited
 8     business and engaged in a persistent course of conduct in the State of California (and
 9     in this District), (3) derived substantial revenue from the sales and/or use of
10     products, such as the infringing Google Wireless Audio System, in the State of
11     California (and in this District), (4) purposefully directed activities (directly and/or
12     through intermediaries), such as shipping, distributing, offering for sale, selling,
13     and/or advertising its infringing Google Wireless Audio System, at residents of the
14     State of California (and residents in this District), (5) delivered its infringing Google
15     Wireless Audio System into the stream of commerce with the expectation that the
16     Google Wireless Audio System will be used and/or purchased by consumers, and (6)
17     committed acts of patent infringement in the State of California (and in this District).
18           45.    This Court also has personal jurisdiction over Google because it is
19     registered to do business in the State of California and has one or more regular and
20     established places of business in the Central District of California.
21           46.    Venue is proper in this District under the provisions of 28 U.S.C. §
22     1400(b) because, as noted above, Google has committed acts of infringement in this
23     district and has one or more regular and established place of business in this district.
24                                     PATENTS-IN-SUIT
25                                          Background
26           47.    Sonos was founded to solve various shortcomings in existing
27     conventional audio technology. At the time, a “conventional multi-zone audio
28     system” was based on a “centralized” device that was “hard-wired” to “audio

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 1     players” in different rooms with dedicated speaker wire. See, e.g., ‘949 Patent at
 2     1:41-47, 1:57-60; see also, e.g., ‘959 Patent at 6:54-61. These “audio players” were
 3     basic “speakers” that passively received and outputted audio signals but lacked
 4     processing capabilities. See, e.g., ‘949 Patent at 1:41-60.
 5           48.    In this conventional “hard-wired” configuration, each audio player
 6     relied on a “centralized” device that managed and controlled the multi-zone audio
 7     system. Under this approach, audio sources were either hard-wired to the
 8     “centralized” device, which made playing different audio sources at different audio
 9     players difficult (if not impossible), or hard-wired locally at a given audio player,
10     which “[made] source sharing difficult.” See, e.g., ‘949 Patent at 1:45-56. For
11     example, before an audio player could play audio from a source, a user had to
12     configure the centralized device to route audio to the audio player from the common
13     source. See, e.g., id. at 1:50-60.
14           49.    In these conventional “hard-wired” systems, it was difficult or
15     impossible to play different audio sources on different audio players, “group” and
16     control audio players, access and play network-based audio sources (e.g., Internet
17     radio), and install and configure the system in the first instance, which required
18     physically connecting every device to the “centralized” device. See, e.g., ‘949
19     Patent at 1:34-2:13; ‘959 Patent at 6:52-61.
20           50.    As recognized in 2005 when Sonos released its first products, Sonos
21     developed a series of new technologies to solve the many shortcomings of
22     conventional hard-wired audio systems, thereby revolutionizing the field. In turn,
23     Sonos’s own introduction of paradigm-shifting technology created new
24     technological opportunities and/or challenges that Sonos further solved.
25           51.    For starters, Sonos provided an unconventional system architecture
26     comprising “zone players” (also referred to as “playback devices”) on a computer
27     data network that were controlled by physical “controller” devices. See, e.g., ‘949
28     Patent at FIG. 1; ‘258 Patent at FIG 1. The following figure illustrates a simplified

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 1     diagram of an exemplary Sonos audio system in accordance with this new system
 2     architecture, which comprises “zone players” 102, 104, and 106 and “controllers”
 3     140 and 142 coupled to one another by a local data network 108 and two local audio
 4     sources 110 and 112 along with a connection to the Internet:
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13     ‘949 Patent at FIG. 1; see also, e.g., ‘258 Patent at FIG. 1.
14           52.    Unlike audio players in conventional “centralized,” “hard-wired”
15     multi-zone audio systems, Sonos’s “zone players” were “independent playback
16     devices” with a data network interface and processing intelligence enabling each
17     “zone player” to independently access and play back any audio source available on
18     a local data network or another data network coupled thereto (e.g., the Internet)
19     without a centralized device. See, e.g., ‘949 Patent at 4:60-64, 5:2-36, 9:50-52,
20     Claims 1, 8, 15; ‘258 Patent at 1:33-44, 2:40-3:22, Claims 1, 11, 17.
21           53.    The new, unconventional nature of Sonos’s “zone players” introduced
22     additional technological challenges to Sonos’s system, which required Sonos’s
23     “zone players” to have new intelligence enabling the “zone players” to “share
24     information” with one another so that they could “reproduce audio information
25     synchronously,” among other unconventional capabilities. See, e.g., ‘258 Patent at
26     31:34-41.    Thus, Sonos’s new system featured “zone players” that could
27     simultaneously play different audio from different sources or be “grouped” together
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 1     to play the same audio source in a synchronized manner. See, e.g., ‘258 Patent at
 2     FIG. 1, 3:50-61, 4:22-50, 5:10-6:64, Claims 1, 11, 17; ‘949 Patent at 2:28-48, 9:49-
 3     59, Claims 1, 8, 15.
 4           54.    Further,   unlike    the   “pre-configured     and    pre-programmed
 5     controller[s]” used to control conventional “centralized,” “hard-wired” audio
 6     systems, Sonos’s “controller” devices were capable of remotely controlling any
 7     “zone player” in a Sonos audio system from anywhere in a user’s house or the like
 8     via a data network. See, e.g., ‘949 Patent at 6:43-60; see also, e.g., ‘258 Patent at
 9     5:27-29, 5:38-40, 6:37-46. Building on the intelligence of Sonos’s new “zone
10     players,” Sonos’s “controllers” had new capabilities, including dynamically
11     “grouping the zone players” and “control[ling] the volume of each of the zone
12     players in a zone group individually or together.” ‘949 Patent at 6:43-60; see also,
13     e.g., ‘258 Patent at FIG. 1, 3:50-61, 4:22-50, 5:10-6:64, 9:17-26, Claims 1, 11, 17.
14           55.    Thus, Sonos’s audio system comprising networked “zone players”
15     controlled by physical “controllers” over a data network provided an entirely new
16     paradigm in home audio that overcame the technological deficiencies of
17     conventional audio systems.         Moreover, Sonos’s unconventional system
18     architecture created new technological challenges that needed to be solved and
19     provided a new platform for further innovation. As discussed in further detail
20     below, the Sonos patents-in-suit are directed to overcoming these technological
21     challenges and building on this new platform.
22                                 U.S. Patent No. 8,588,949
23           56.    Sonos is the owner of U.S. Patent No. 8,588,949 (the “‘949 Patent”),
24     entitled “Method and Apparatus for Adjusting Volume Levels in a Multi-Zone
25     System,” which was duly and legally issued by the United States Patent and
26     Trademark Office (“USPTO”) on November 19, 2013.                  A Reexamination
27     Certificate for the ‘949 Patent was duly and legally issued by the USPTO on
28     November 5, 2015. A copy of the ‘949 Patent, including the Reexamination

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 1     Certificate, is attached hereto as Exhibit 1.
 2           57.    The ‘949 Patent relates generally to devices, computer-readable
 3     media, and methods for controlling a plurality of playback devices on a local area
 4     network.
 5           58.    The ‘949 Patent recognized problems with conventional multi-zone
 6     audio systems. For instance, the ‘949 Patent recognized that “conventional multi-
 7     zone audio system[s]” were undesirably based on a “centralized” device that was
 8     “hard-wired” to “audio players” in different rooms with dedicated speaker wire.
 9     See, e.g., ‘949 Patent at 1:41-47, 1:57-60. Moreover, because these “conventional
10     multi-zone audio system[s]” were “either hard-wired or controlled by a pre-
11     configured and pre-programmed controller,” it was “difficult for [a conventional]
12     system to accommodate the requirement of dynamically managing the ad hoc
13     creation and deletion of groups,” among other disadvantages of conventional multi-
14     zone audio systems. See, e.g., id. at 1:57-2:12.
15           59.    In this regard, the ‘949 Patent recognized “a need for dynamic control
16     of [] audio players as a group” and a solution that allowed “audio players [to] be
17     readily grouped” with “minimum manipulation.” See, e.g., id. at 2:13-15. In
18     particular, the ‘949 Patent recognized “a need for user interfaces that may be readily
19     utilized to group and control [] audio players.” See, e.g., id. at 1:15-18. The claimed
20     inventions of the ‘949 Patent are directed to technology that provides a solution to
21     such needs. See, e.g., id. at 2:65-3:3.
22      The Inventions Claimed in U.S. Patent No. 8,588,949 Improved Technology
23                 & Were Not Well-Understood, Routine, or Conventional
24           60.    Given the state of the art at the time of the inventions of the ‘949
25     Patent, including the deficiencies in “centralized,” “hard-wired” multi-zone audio
26     systems of the time, the inventive concepts of the ‘949 Patent cannot be considered
27     to be conventional, well-understood, or routine. See, e.g., ‘949 Patent at 1:26-2:12.
28     The ‘949 Patent provides an unconventional solution to problems that arose in the

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 1     context of “centralized,” “hard-wired” multi-zone audio systems – namely, that
 2     such systems made it difficult (or impossible) to dynamically group audio players
 3     for synchronous playback and dynamically control such grouped audio players.
 4     See, e.g., id. at 1:57-2:12.
 5            61.    At the core of the ‘949 Patent are aspects of Sonos’s unconventional
 6     system architecture – a “controller” and a plurality of “independent playback
 7     devices” (e.g., “zone players”) communicating over a “local area network” (LAN).
 8     Further, unlike the “pre-configured and pre-programmed controller[s]” used to
 9     control conventional “centralized,” “hard-wired” multi-zone audio systems, the
10     ‘949 Patent’s “controller” devices were unconventionally capable of controlling
11     any “zone player” in the system from anywhere in a user’s house or business via
12     the LAN, such as by dynamically “grouping the zone players” and “control[ling]
13     the volume of each of the zone players in a zone group individually or together.”
14     See, e.g., ‘949 Patent at 6:43-60.
15            62.    In this respect, it was not well-understood, routine, or conventional at
16     the time of the inventions of the ‘949 Patent to have a “controller” configured to
17     (i) provide a user interface for a “player group” that includes a plurality of
18     “players,” each being an “independent playback device,” and (ii) accept an input to
19     facilitate formation of the “player group” for “synchronized playback of a
20     multimedia output from the same multimedia source.” See, e.g., ‘949 Patent at
21     Claims 1, 8, 15; see also, e.g., Ex. 8 (2005 PC Mag: “[Sonos’s ZonePlayers] can
22     play the same music throughout the house, perfectly synchronized. Even though
23     that may seem drop-dead simple, other hubs don’t do it. And you can join multiple
24     rooms to play the same music . . . on the fly.”).
25            63.    Furthermore, it was not well-understood, routine, or conventional at
26     the time of the inventions of the ‘949 Patent to have a “controller” configured to
27     (i) accept, for any individual “player” in a “player group,” a player-specific input
28     to adjust the volume of that individual “player,” where the player-specific input

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 1     causes that individual “player” to adjust its volume and (ii) accept a “group-level”
 2     input to adjust a volume associated with the “player group,” where the player-
 3     specific input causes each of the “players” in the “player group” to adjust its
 4     respective volume. See, e.g., ‘949 Patent at Claims 1, 8, 15.
 5           64.    These are just exemplary reasons why the inventions claimed in the
 6     ‘949 Patent were not well-understood, routine, or conventional at the time of their
 7     invention.
 8           65.    The unconventional nature of the ‘949 Patent has also been confirmed
 9     by wide-spread industry praise for the patented technology of the ‘949 Patent as an
10     advancement in the field of home audio, as set forth below.
11           66.    Notably, the District Court of Delaware held that the claimed
12     inventions of the ‘949 Patent are “patent-eligible subject matter under § 101.” See
13     Ex. 51 at p. 13. In particular, the district court recognized that the claimed
14     inventions of the ‘949 Patent “represent[] a substantial improvement over the
15     existing technology” that “provides for capabilities far beyond what a traditional
16     hardwired system offers.” Id. at p. 12.
17           67.    The district court also recognized that the ‘949 Patent’s solutions
18     cannot be performed solely by a human. See, e.g., id. at pp. 11-12 (“Defendants’
19     arguments that a human could perform the actions the [controller] device is said to
20     perform is at best illogical.”). Indeed, the ‘949 Patent’s claimed solutions are not
21     merely drawn to longstanding human activities at least because they address
22     problems rooted in multi-zone audio systems. See, e.g., id. at p. 12 (“This is not
23     simply a ‘more efficient’ method of doing something already done by humans.”).
24           68.    Moreover, the innovative and unconventional nature of the ‘949 Patent
25     was confirmed by the validity findings in the D&M Litigation (see Ex. 50) and the
26     ‘949 Patent reexamination proceeding (see Ex. 1).
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 1        The Inventions Claimed in U.S. Patent No. 8,588,949 Provide Important
 2                          Advantages to Wireless Audio Systems
 3           69.    The group volume control technology of the ‘949 Patent provides
 4     significant advantages that are important to wireless audio systems. The advantages
 5     of Sonos’s group volume control technology are reflected in the recognition and
 6     praise it has received from the press. For example, shortly after Sonos launched its
 7     first commercial product in 2005, PC Magazine exclaimed: “[Sonos] is the first
 8     digital audio hub we can recommend without reservation . . . . Once you’re back
 9     to using the master volume control, the volume rises or falls relative to each room’s
10     existing setting. These are the brilliant touches . . . .” See Ex. 8. As another
11     example, in 2005, Playlist lauded Sonos’s “Controller” for its “stand[] out”
12     interface that enables dynamic grouping of Sonos players and volume control. See
13     Ex. 52. Likewise, in 2008, Gizmodo praised Sonos for the ability to “[c]hange the
14     volume in a single room, or in all your rooms at once, all from the Sonos
15     Controller.” See Ex. 53. A few years later, in 2012, Pocket-lint touted Sonos’s
16     patented group volume technology as “simple but clever.” See Ex. 54.
17           70.    Recognizing the advantages of Sonos’s patented group volume control
18     technology, competitors in the industry, including Google, have incorporated
19     Sonos’s technology into their products and marketed to their customers the features
20     that the technology enables. For example, Google’s website includes a webpage
21     entitled “How to change the volume of an audio group,” which touts the ability
22     “[t]o adjust the volume of all speakers in a group” and “[t]o adjust a single
23     speaker’s volume when it’s part of a group” in a Google Wireless Audio System.
24     See Ex. 55 (emphasis in original). As explained by Google, “[c]hanging the group
25     volume . . . will change the volume of all speakers within the group.” Id. (emphasis
26     in original). In contrast, Google explains that “[c]hanging a single speaker’s
27     volume when it’s part of a group . . . will only change that individual speaker.” Id.
28     (emphasis in original). As another example, Google’s website also includes a

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 1     webpage entitled “Create and manage speaker groups,” which touts the ability to
 2     “control group members volume” in a Google Wireless Audio System. See Ex. 29.
 3           71.    The media has also recognized the importance of Sonos’s patented
 4     group volume control technology to Google and its customers. For example, in
 5     explaining that “[o]ne of the great advantages of having several Google Home
 6     speakers is the ability to play the same music throughout your house,” the Verge
 7     also touted Google’s group and individual volume features.             See Ex 56.
 8     Specifically, the Verge explained that you can control group volume if you “go to
 9     your Home app and tap on the name of your group,” and that “[i]f you want to raise
10     or lower the volume on a specific speaker in the group, just tap on the icon for that
11     speaker on the main screen on the Home app.” Id.
12                                 U.S. Patent No. 9,195,258
13           72.    Sonos is the owner U.S. Patent No. 9,195,258 (the “‘258 Patent”),
14     entitled “System and Method for Synchronizing Operations Among a Plurality of
15     Independently Clocked Digital Data Processing Devices,” which was duly and
16     legally issued by the USPTO on November 24, 2015. A copy of the ‘258 Patent is
17     attached hereto as Exhibit 2.
18           73.    The ‘258 Patent relates generally to devices, systems, and methods for
19     synchronizing audio playback among a group of “zone players.”
20           74.    As discussed above, Sonos recognized problems with conventional
21     multi-zone audio systems and introduced a paradigm-shifting system architecture
22     comprising “zone players” that communicated over a data network. The
23     unconventional nature of Sonos’s “zone players” introduced additional
24     technological challenges to Sonos’s system. See, e.g., ‘258 Patent at 1:55-2:36.
25           75.    For instance, the ‘258 Patent recognized the technological challenge
26     of “ensur[ing] that, if two or more audio playback devices are contemporaneously
27     attempting to play back the same audio program, they do so simultaneously.” ‘258
28     Patent at 2:17-36. In this respect, the ‘258 Patent recognized that “audio playback

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 1     devices that are being developed have independent clocks, and, if they are not
 2     clocking at precisely the same rate, the audio playback provided by the various
 3     [playback] devices can get out of synchronization.” Id. at 2:32-36. Moreover, the
 4     ‘258 Patent recognized that “differences in the audio playback devices’ start times
 5     and/or playback speeds” “can arise . . . for a number of reasons, including delays
 6     in the transfer of audio information over the network,” and that “[s]uch delays can
 7     differ as among the various audio playback devices for a variety of reasons,
 8     including where they are connected into the network, message traffic, and other
 9     reasons . . . .” Id. at 2:20-27. Consequently, the ‘258 Patent recognized that “[s]mall
10     differences in the audio playback devices’ start times and/or playback speeds can
11     be perceived by a listener as an echo effect, and larger differences can be very
12     annoying.” Id. at 2:20-22.
13            76.    In this regard, the ‘258 Patent recognized a need for “a new and
14     improved system and method for synchronizing operations among a number of
15     digital data processing devices that are regulated by independent clocking devices.”
16     See, e.g., ‘258 Patent at 2:40-43. The claimed inventions of the ‘258 Patent are
17     directed to technology that provides a solution to such needs. See, e.g., id.
18      The Inventions Claimed in U.S. Patent No. 9,195,258 Improved Technology
19                  & Were Not Well-Understood, Routine, or Conventional
20            77.    Given the state of the art at the time of the inventions of the ‘258
21     Patent, including the deficiencies in centralized, hard-wired multi-zone audio
22     systems of the time, the inventive concepts of the ‘258 Patent cannot be considered
23     to be conventional, well-understood, or routine. See, e.g., ‘258 Patent at 1:26-2:12.
24     The ‘258 Patent provides an unconventional solution to problems that arose in
25     Sonos’s unconventional system architecture comprising “zone players” that
26     communicated over a data network – namely, that such “zone players” have
27     “independent clocks” which makes ensuring synchronized audio playback difficult.
28     See, e.g., id. at 2:17-36.

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 1               78.   At the core of the ‘258 Patent are aspects of Sonos’s unconventional
 2     system architecture – “zone players” and at least one “controller” communicating
 3     over a “local area network.” Each “zone player” was unconventionally equipped
 4     with a data network interface and intelligence enabling the “zone player” to
 5     independently access and play back audio from a variety of network-accessible
 6     audio sources and dynamically enter a “group” with one or more other “zone
 7     players” for synchronized audio playback based on an instruction from a
 8     “controller.” See, e.g., ‘258 Patent at FIG. 1, 3:50-61, 4:22-50, 5:10-6:64, Claims
 9     1, 11, 17. While “grouped,” the “zone players” were unconventionally capable of
10     sharing particular information over a data network to facilitate “reproduc[ing] audio
11     information synchronously” despite the fact that the “zone players operate with
12     independent clocks” and exchange packets over a data network with “differing
13     delays.” ‘258 Patent at 31:34-41.
14               79.   In this respect, it was not well-understood, routine, or conventional at
15     the time of the invention of the ‘258 Patent to have a “zone player” configured to
16     interface with a LAN and receive from a “controller” over the LAN a direction for
17     the “zone player” to enter into a synchrony group with at least one other “zone
18     player.” See, e.g., ‘258 Patent at Claims 1, 11, 17; see also, e.g., Ex. 8 (2005 PC
19     Mag: “[Sonos’s ZonePlayers] can play the same music throughout the house,
20     perfectly synchronized. Even though that may seem drop-dead simple, other hubs
21     don’t do it. And you can join multiple rooms to play the same music . . . on the
22     fly.”).
23               80.   Moreover, it was not well-understood, routine, or conventional at the
24     time of the inventions of the ‘258 Patent to have a “zone player” configured to enter
25     into a synchrony group with another “zone player” in which the “zone players” are
26     configured to playback audio in synchrony based at least on (i) audio content,
27     (ii) playback timing information associated with the audio content, and (iii) clock
28     time information for one of the “zone players.” See, e.g., ‘258 Patent at Claims 1,

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 1     11, 17; see also, e.g., Ex. 6 (2013 NBC News: “[Sonos] revolutionized the home
 2     audio world a decade ago . . . . If you wanted the same song in every room, no
 3     problem, the tracks would be perfectly in sync . . . . At the time, this was mind
 4     blowing. Never before could you get music in every room without drilling a bunch
 5     of holes for wires . . . .”).
 6            81.    These are just exemplary reasons why the inventions claimed in the
 7     ‘258 Patent were not well-understood, routine, or conventional at the time of their
 8     invention.
 9            82.    The unconventional nature of the ‘258 Patent has also been confirmed
10     by wide-spread industry praise for the patented technology of the ‘258 Patent as an
11     advancement in the field of home audio, as set forth below.
12            83.    Notably, the Patent Trial and Appeal Board recently confirmed that
13     the ‘258 Patent is directed not just to unconventional implementations but to truly
14     innovative audio technology. In this regard, the PTAB specifically found that
15     inventions claimed in Sonos’s Patent No. 9,213,357 – which cover similar subject
16     matter as the inventions claimed in the ‘258 Patent – would not have been obvious
17     at the time of their invention. See Ex. 57 at pp. 6-7.
18            84.    Moreover, the innovative and unconventional nature of the ‘258 Patent
19     was confirmed by the validity findings in the D&M Litigation. See Ex. 50.
20        The Inventions Claimed in U.S. Patent No. 9,195,258 Provide Important
21                            Advantages to Wireless Audio Systems
22            85.    The grouping and synchronization technology of the ‘258 Patent
23     provides significant advantages that are important to wireless audio systems. The
24     advantages of Sonos’s patented grouping and synchronization technology are
25     reflected in the recognition and praise it has received from the press. For example,
26     in 2005, shortly after Sonos released its first commercial products, PC Magazine
27     touted the Sonos system for its ability to “play the same music throughout the house,
28     perfectly synchronized.” See Ex. 8. Similarly, in 2005, The Wall Street Journal

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 1     praised Sonos’s system for the ability to “play . . . the same songs, in each room
 2     simultaneously.” See Ex. 58. As another example, in 2013, Macworld exclaimed:
 3     “Sonos is the gold standard when it comes to multi-room audio . . . you can drive
 4     the system from any computer or handheld device, playing music in sync
 5     throughout the house . . . .” See Ex. 59. Likewise, in 2013, NBC News praised
 6     Sonos’s patented synchronization technology as “mind blowing.” See Ex. 6 (“If
 7     you’re not familiar with Sonos, this company revolutionized the home audio world
 8     a decade ago when it launched the first (rather expensive) Sonos kits . . . . If you
 9     wanted the same song in every room, no problem, the tracks would be perfectly in
10     sync . . . . At the time, this was mind blowing. Never before could you get music
11     in every room without drilling a bunch of holes for wires . . . .”).
12           86.    Recognizing the advantages of Sonos’s patented grouping and
13     synchronization technology, competitors in the industry, including Google, have
14     incorporated Sonos’s patented technology into their products and marketed the
15     features that the technology enables to their customers. For example, as set forth
16     above, when Google updated its first wireless audio product – the Chromecast
17     Audio – to include multi-room audio functionality, Google proclaimed that “[n]ow
18     you can easily fill every room in your home—bedroom, kitchen, living room, or
19     wherever you have a Chromecast Audio connected—with synchronous music.
20     Multi-room lets you group Chromecast Audio devices together so you can listen to
21     the same song on multiple speakers.” See Ex. 20. And when Google later added
22     multi-room audio to its original Chromecast for video, Google recognized the
23     customer demand for Sonos’s synchronization: “We heard your feedback, and the
24     Chromecast team is excited to you [sic] bring Multi-room audio support for
25     Chromecast devices!” Ex. 60.
26           87.     As another example, in advertising the “Multi-room audio” capability
27     of its wireless audio products on its website, Google touts that you can “[g]roup any
28     combination of Google Home, Chromecast Audio, or speakers with Chromecast

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 1     together for synchronous music throughout the home.” See, e.g., Ex. 61. Likewise,
 2     Google’s website includes a webpage entitled “Create and manage speaker groups,”
 3     which promotes grouping and synchronized audio playback in the very first
 4     sentence: “Group any combination of Google Nest or Google Home speakers and
 5     displays, Chromecast devices, and speakers with Chromecast built-in together for
 6     synchronous music throughout the home.” See, e.g., Ex. 29.
 7           88.    The media has also recognized the importance of Sonos’s patented
 8     grouping and synchronization technology to Google and its customers.            For
 9     instance, Variety called Google’s 2015 multi-room software update for Chromecast
10     Audio “a major feature update” that allows “[c]onsumers . . . to group multiple
11     Chromecast audio adapters to stream their favorite music simultaneously in more
12     than one room . . . .” Ex. 21. As another example, when Google released the Google
13     Home in 2016, The Verge recognized its ability to play audio in synchrony with
14     other Google devices as an important feature that provided Google with an
15     advantage over Amazon: “You can also group multiple Home units together and
16     play music though all of them simultaneously, similar to how Sonos works.
17     Amazon doesn’t yet provide this feature with the Echo.” Ex. 24. Notably, however,
18     Amazon added multi-room to its own products shortly thereafter in 2017. See Ex.
19     86 (2017 Amazon Press Release: “New multi-room music feature lets you group
20     multiple Amazon Echo devices for synchronized music streaming in every room.”).
21                                 U.S. Patent No. 9,219,959
22           89.    Sonos is the owner of U.S. Patent No. 9,219,959, entitled “Multi
23     Channel Pairing in a Media System,” which was duly and legally issued by the
24     USPTO on December 22, 2015. A Reexamination Certificate for the ‘959 Patent
25     was duly and legally issued by the USPTO on April 5, 2017. A copy of the ‘959
26     Patent, including the Reexamination Certificate, is attached hereto as Exhibit 3.
27           90.    The ‘959 Patent relates generally to devices and methods for providing
28     audio in a multi-channel listening environment.

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 1           91.    As with other of the patents-in-suit, the ‘959 Patent recognized
 2     problems with conventional multi-zone audio systems. For instance, the ‘959
 3     Patent recognized that conventional multi-zone audio systems were based on a
 4     centralized device hard-wired to “individual, discrete speakers” in different rooms
 5     that required “physically connecting and re-connecting speaker wire, for example,
 6     to individual, discrete speakers to create different configurations.” See, e.g., ‘959
 7     Patent at 6:54-58. Because these conventional multi-zone audio systems were hard-
 8     wired to “individual, discrete speakers,” it was difficult (if not impossible) to
 9     “group, consolidate, and pair” the speakers into different “desired configurations”
10     without “connecting and re-connecting speaker wire.” See, e.g., id.
11           92.    Thus, the ‘959 Patent recognized a need for technology that could
12     “provide a more flexible and dynamic platform through which sound reproduction
13     can be offered to the end-user.” ‘959 Patent at 6:58-61. The claimed inventions of
14     the ‘959 Patent are directed to technology that provides a solution to such needs,
15     thereby providing technology that helps “to achieve or enhance a multi-channel
16     listening environment.” Id. at 2:17-19.
17      The Inventions Claimed in U.S. Patent No. 9,219,959 Improved Technology
18                 & Were Not Well-Understood, Routine, or Conventional
19           93.    Given the state of the art at the time of the inventions of the ‘959
20     Patent, including the deficiencies in centralized, hard-wired multi-zone audio
21     systems of the time that required “physically connecting and re-connecting speaker
22     wire . . . to create different configurations,” the inventive concepts of the ‘959
23     Patent cannot be considered to be conventional, well-understood, or routine. See,
24     e.g., ‘959 Patent at 6:54-58. The ‘959 Patent provides an unconventional solution
25     to problems that arose in the context of centralized, hard-wired multi-zone audio
26     systems – namely, that the technology of such systems made it difficult (if not
27     impossible) to “group, consolidate, and pair” “individual, discrete speakers” into
28     different “desired configurations.” See, e.g., id. In this respect, unlike conventional

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 1     hard-wired multi-zone audio systems, the ‘959 Patent provided unconventional
 2     technology including a “controller” with a “control interface” through which
 3     “actions of grouping, consolidation, and pairing [were] performed,” and a
 4     “playback device” with processing intelligence capable of being dynamically
 5     “pair[ed]” with another playback device to simulate “a multi-channel listening
 6     environment.” See e.g., id. at 2:16-19, 6:54-58.
 7            94.    In this respect, it was not well-understood, routine, or conventional at
 8     the time of the invention of the ‘959 Patent to have a “playback device” comprising
 9     a network interface and configured to operate in at least both a first and second
10     “type of pairing.” See, e.g., ‘959 Patent at Claims 4-7, 9-11, 17-20; see also, e.g.,
11     id. at 6:54-58.
12            95.    Moreover, it was not well-understood, routine, or conventional at the
13     time of the invention of the ‘959 Patent to have a “playback device” configured to
14     (i) process audio data before the “playback device” outputs audio, (ii) determine
15     that a type of pairing of the “playback device” comprises one of at least a first type
16     of pairing or a second type of pairing, (iii) perform a first equalization of the audio
17     data before outputting audio based on the audio data when the type of pairing is
18     determined to comprise the first type of pairing, and (iv) perform a second
19     equalization of the audio data before outputting audio when the type of pairing is
20     determined to comprise the second type of pairing. See, e.g., ‘959 Patent at Claims
21     4-7, 9-11, 17-20; see also, e.g., id. at 6:54-58. It was also not well-understood,
22     routine, or conventional at the time of the invention of the ‘959 Patent to have a
23     “playback device” configured to perform the aforementioned functions as well as
24     being configured to receive an instruction from a “controller” over a network for
25     the “playback device” to “pair” with one or more other “playback devices.” See,
26     e.g., id. at Claim 10; see also, e.g., id. at 6:54-58.
27            96.    These are just exemplary reasons why the inventions claimed in the
28     ‘959 Patent were not well-understood, routine, or conventional at the time of their

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 1     invention.
 2           97.    The unconventional nature of the ‘959 Patent has also been confirmed
 3     by wide-spread industry praise for the patented technology of the ‘959 Patent as an
 4     advancement in the field of home audio, as set forth below.
 5           98.    Notably, the District Court of Delaware held that the claimed
 6     inventions of the ‘959 Patent are “patent-eligible subject matter under § 101.” Ex.
 7     51 at p. 16. In particular, the district court recognized that the claimed inventions
 8     of the ‘959 Patent represent a “substantial improvement” over the existing
 9     technology. Id. at p. 15.
10           99.    The district court also recognized that the ‘959 Patent’s solutions
11     cannot be performed solely by a human. See, e.g., id. at p. 15 (“In order to perform
12     this method manually . . . a person would have to manually rewire the devices each
13     time a new selection is made for which devices are to output which channels.”).
14     Indeed, at least because the ‘959 Patent’s claimed solutions address problems
15     rooted in multi-zone audio systems and facilitate a “pairing” process with functions
16     not previously performed by humans, these solutions are not merely drawn to
17     longstanding human activities. See, e.g., id. at p. 15 (“This simply is not the kind
18     of method that could be performed manually and, even if it were, automating the
19     method as claimed represents a substantial improvement to the functionality of a
20     specific device.”).
21           100. Moreover, the innovative and unconventional nature of the ‘959 Patent
22     was confirmed by the validity findings in the ‘959 Patent reexamination proceeding.
23     See Ex. 3.
24        The Inventions Claimed in U.S. Patent No. 9,219,959 Provide Important
25                           Advantages to Wireless Audio Systems
26           101. The multi-channel pairing technology of the ‘959 Patent provides
27     significant advantages that are important to wireless audio systems. The advantages
28     of Sonos’s multi-channel pairing technology are reflected in the recognition and

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 1     praise it has received from the press. For example, in 2010, around the time that
 2     Sonos released its multi-channel pairing technology, SlashGear praised Sonos’s
 3     technology as “a slick way for users . . . to combine two speakers when they want
 4     better sound.” See Ex. 62. Similarly, in 2015, Trusted Reviews described Sonos’s
 5     multi-channel pairing technology as “[o]ne particularly nifty feature,” and
 6     explained that it allows you to “[p]air up multiple speakers for better sound.” See
 7     Ex. 63; see also Ex. 64 (2014 Consumer Reports: praising Sonos’s multi-channel
 8     pairing technology as providing “a richer, more detailed sound with wider
 9     soundstage.”); Ex. 65 (2014 Businessweek: recognizing Sonos’s pairing
10     technology as appealing to the “audiophile”); Ex. 66 (2013 What Hi-Fi: praising
11     Sonos’s pairing technology because “performance is bolstered significantly. Bass
12     is even more solid, instrument separation improves, smaller details are picked up
13     with more confidence and sound can go noticeably louder without distortion.”).
14           102. Recognizing the advantages of Sonos’s patented multi-channel pairing
15     technology, competitors in the industry, including Google, have incorporated
16     Sonos’s technology into their products and marketed the features that the
17     technology enables to their customers. For example, to market the Google Home
18     Max on its website, Google includes a product webpage touting that you can
19     “[w]irelessly pair two for room-filling stereo separation” for “[a]n even wider
20     stereo image.” Ex. 67. To illustrate this, Google provides the following image:
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 1     Id. Likewise, Google’s Home Max product webpage also notes the “[w]ireless
 2     stereo pairing” functionality in the “Tech Specs” section. Ex. 68.
 3           103. As another example, Google’s website includes a webpage entitled
 4     “Pair Google Home Max speakers,” which proclaims that “[y]ou can pair two
 5     Google Home Max speakers (devices) for stereo sound and an immersive
 6     experience for music and casting,” and explains how to “[p]air the speakers” and
 7     “[c]ontrol the speaker pair.” Ex. 69.
 8           104. And yet further, Google’s press release for the launch of the Google
 9     Home Max in 2017 announced that “[y]ou can even wirelessly pair two Maxes
10     together for stereo sound.” Ex. 70.
11           105. The media has also recognized the importance of Sonos’s patented
12     multi-channel pairing technology to Google and its customers. For instance, when
13     Google released the Home Max in 2017, Engadget cited the Home Max’s stereo
14     pairing capability in comparing it to Sonos’s competing speakers and observed that
15     “pairing two Home Max speakers in stereo . . . greatly extend[s] the soundstage.”
16     Ex. 71. Engadget also observed that “[t]he Home Max provides a stellar music
17     experience, particularly in a stereo pair.” Id. Similarly, Digital Trends observed
18     that the Home Max is “impressive when you pair one Max with another for stereo
19     audio.” Ex. 72; see also, e.g., Ex. 73 (2017 The Verge: “You can buy two [Google
20     Home Max speakers] and set them up as a pair.”).
21           106. In the same vein, when Google recently announced that it will be
22     upgrading its Google Home and Home Mini to support stereo pairing, 9to5Google
23     recognized that “Google is expanding stereo speaker pairing to the original Google
24     Home and Google Home Mini” and called stereo pairing “[o]ne of the best
25     features.” Ex. 74. Likewise, in response to Google’s recent announcement, Digital
26     Trends published an article entitled “Finally, stereo speaker pairing comes to the
27     Google Home and Home Mini,” which explained that stereo pairing is part of “[t]he
28     beauty of having Google smart home devices.” Ex. 75.

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 1                                 U.S. Patent No. 10,209,953
 2            107. Sonos is the owner of U.S. Patent No. 10,209,953, entitled “Playback
 3     Device,” which was duly and legally issued by the USPTO on February 19, 2019.
 4     A copy of the ‘953 Patent is attached hereto as Exhibit 4.
 5            108. The ‘953 Patent is related to the ‘258 Patent and shares a common
 6     specification and ultimate priority claim.
 7            109. The ‘953 Patent is directed to devices, methods, and computer-
 8     readable media for synchronizing audio playback.
 9            110. Sonos incorporates by reference and re-alleges the foregoing
10     paragraph numbers 72-76 of this Complaint as if fully set forth herein.
11      The Inventions Claimed in U.S. Patent No. 10,209,953 Improved Technology
12                   & Were Not Well-Understood, Routine, or Conventional
13            111. Sonos incorporates by reference and re-alleges the foregoing
14     paragraph numbers 77-84 of this Complaint as if fully set forth herein.
15            112. Like the inventions claimed in the ‘258 Patent, the inventions claimed
16     in the ‘953 Patent improved technology and were not well-understood, routine, or
17     conventional.
18            113. Indeed, it was not well-understood, routine, or conventional at the time
19     of the invention of the ‘953 Patent to have a “zone player” configured to receive a
20     request for the “zone player” to enter into a synchrony group with at least one other
21     “zone player” and in response to receiving such a request, enter into the synchrony
22     group in which the “zone player” is selected to begin operating as a “slave” of the
23     synchrony group. See, e.g., ‘953 Patent at Claims 1, 7, 25; see also, e.g., Ex. 8
24     (2005 PC Mag: “[Sonos’s ZonePlayers] can play the same music throughout the
25     house, perfectly synchronized. Even though that may seem drop-dead simple, other
26     hubs don’t do it. And you can join multiple rooms to play the same music . . . on
27     the fly.”).
28            114. Moreover, it was not well-understood, routine, or conventional at the

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 1     time of the invention of the ‘953 Patent to have a “zone player” that, after beginning
 2     to operate as a “slave” of a synchrony group, functions to (i) receive, from another
 3     “zone player” operating as a “master” of the synchrony group over a local area
 4     network (LAN), clock timing information and (ii) based on the received clock
 5     timing information, determine a differential between the clock time of the “zone
 6     player” and the clock time of the “master” “zone player.” See, e.g., ‘953 Patent at
 7     Claims 1, 7, 25; see also, e.g., Ex. 6 (2013 NBC News: “[Sonos] revolutionized the
 8     home audio world a decade ago . . . . If you wanted the same song in every room,
 9     no problem, the tracks would be perfectly in sync . . . . At the time, this was mind
10     blowing. Never before could you get music in every room without drilling a bunch
11     of holes for wires . . . .”).
12            115. Further yet, it was not well-understood, routine, or conventional at the
13     time of the invention of the ‘953 Patent to have a “zone player” that, after beginning
14     to operate as a “slave” of a synchrony group, functions to receive, from another
15     “zone player” operating as a “master” of the synchrony group over a LAN, (a) audio
16     information for an audio track and (b) playback timing information associated with
17     the audio information for the audio track that comprises an indicator of a future
18     time at which the “zone players” are to initiate synchronous playback of the audio
19     information. See, e.g., ‘953 Patent at Claims 1, 7, 25; see also, e.g., Ex. 6. It was
20     also not well-understood, routine, or conventional at the time of the invention of
21     the ‘953 Patent to have a “zone player” that, after beginning to operate as a “slave”
22     of a synchrony group, functions to perform the aforementioned operations as well
23     as functions to (i) update the future time to account for a determine differential
24     between the clock time of the “zone player” and the clock time of the “master”
25     “zone player” and (ii) initiate synchronous playback of the received audio
26     information with the “master” “zone player” when the clock time of the “zone
27     player” reaches the updated future time. See, e.g., ‘953 Patent at Claims 1, 7, 25;
28     see also, e.g., Ex. 6.

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 1           116. These are just exemplary reasons why the inventions claimed in the
 2     ‘953 Patent were not well-understood, routine, or conventional at the time of their
 3     invention.
 4           117. As with the ‘258 Patent, the unconventional nature of the ‘953 Patent
 5     has also been confirmed by wide-spread industry praise for the patented technology
 6     of the ‘953 Patent as an advancement in the field of home audio.
 7       The Inventions Claimed in U.S. Patent No. 10,209,953 Provide Important
 8                         Advantages to Wireless Audio Systems
 9           118. Sonos incorporates by reference and re-alleges the foregoing
10     paragraph numbers 85-88 of this Complaint as if fully set forth herein.
11           119. As with the ‘258 Patent, the synchronization technology of the ‘953
12     Patent provides significant advantages that are important to wireless audio systems,
13     as reflected in the recognition and praise it has received from the press/media and
14     competitors in the industry including Google.
15                                 U.S. Patent No. 10,439,896
16           120. Sonos is the owner of U.S. Patent No. 10,439,896, entitled “Playback
17     Device Connection,” which was duly and legally issued by the USPTO on October
18     8, 2019. A copy of the ‘896 Patent is attached hereto as Exhibit 5.
19           121. The ‘896 Patent relates generally to devices, methods, and computer-
20     readable media for connecting a “zone player” (or “playback device”) to a secure
21     wireless local area network (WLAN), thereby setting up the zone player for use in
22     a networked audio system.
23           122. The ‘896 Patent recognized problems with conventional device-setup
24     technology for connecting “consumer electronic devices” (e.g., “home
25     entertainment products”) to a network. See, e.g., ‘896 Patent at 1:37-67. For
26     instance, the ‘896 Patent recognized that “[c]onsumer electronic devices that
27     operate using wireless or wired Ethernet standards are often subject to the same
28     complicated set-up process as a wireless computer network.” Id. at 1:37-39.

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 1           123. Indeed, a conventional setup process typically required “the person
 2     who sets up the wireless network [to] have at least some knowledge about IP
 3     (Internet Protocol) networking and Ethernet (e.g., 802.3, 802.11), such as
 4     addressing, security, broadcast, unicast, etc.” Id. at 1:40-43. At the time of the
 5     inventions of the ‘896 Patent, typically only “IT professionals” possessed such
 6     knowledge. Id. at 1:43-46. In this respect, to connect a computer to a wireless
 7     network, “the user [had] to know what type of network the computer [was] going
 8     to be connected to,” which was a “difficult question [for] the average consumers”
 9     to answer. Id. at 1:57-63. Moreover, there were additional “questions or options
10     related to [] security settings [] which evidently require[d] some good
11     understanding about the network security over the wireless network.” Id. at 1:63-
12     67. Thus, the ‘896 Patent recognized that it was “impractical to require average
13     consumers to have such knowledge to hook up consumer electronic devices, such
14     as home entertainment products that use wireless/wired Ethernet connectivity.” Id.
15     at 1:46-49.
16           124. The ‘896 Patent also recognized that a device that has yet to be setup
17     on a network has “limited networking capability” and is not addressable by other
18     devices, which presents technical challenges as to how that device can receive
19     information that facilitates the device’s setup to operate on the network. See, e.g.,
20     ‘896 Patent at 11:4-14.
21           125. Consequently, the ‘896 Patent recognized that there was “a clear need
22     to create simple methods of setting up and maintaining a secure wireless/wired in-
23     home network with minimum human interventions.” Id. at 2:1-4. The claimed
24     inventions of the ‘896 Patent are directed to technology that provides a solution to
25     such needs.
26      The Inventions Claimed in U.S. Patent No. 10,439,896 Improved Technology
27                   & Were Not Well-Understood, Routine, or Conventional
28           126. Given the state of the art at the time of the inventions of the ‘896

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 1     Patent, including the deficiencies in conventional device-setup technology of the
 2     time, the inventive concepts of the ‘896 Patent cannot be considered to be
 3     conventional, well-understood, or routine. See, e.g., ‘896 Patent at 1:37-2:4. The
 4     ‘896 Patent provides an unconventional solution to problems arising in the context
 5     of connecting “consumer electronic devices” (e.g., “home entertainment products”)
 6     to a network – namely, that such devices, prior to being setup, had limited
 7     networking capabilities and were not network addressable by other devices and
 8     typically operated “using wireless or wired Ethernet standards [that were] often
 9     subject to the same complicated set-up process as a wireless computer network.”
10     Id. at 1:37-2:4, 11:4-14.
11           127. In this respect, the ‘896 Patent provided a technological solution that
12     addressed the limited-networking-capability and addressability problems with
13     existing setup technologies. See, e.g., ‘896 Patent at 11:4-37. Moreover, unlike
14     conventional device-setup technology whose complexity made it “impractical” for
15     “average consumers to . . . hook up consumer electronic devices” to a requisite data
16     network, the ‘896 Patent provided a technological solution that made it easier for
17     consumers to connect a consumer electronic device to a data network. See, e.g., id.
18     at 1:37-67.
19           128. In this regard, it was not well-understood, routine, or conventional at
20     the time of the invention of the ‘896 Patent to have a “computing device”
21     comprising a graphical user interface (GUI) associated with an application for
22     controlling one or more “playback devices” and that is configured to facilitate
23     setting up a “playback device” to operate on a secure wireless local area network
24     (WLAN). See, e.g., ‘896 Patent at Claims 1, 13, 20.
25           129. Moreover, it was not well-understood, routine, or conventional at the
26     time of the invention of the ‘896 Patent to have a “computing device” configured
27     to (i) transmit a response to a first message that facilitates establishing with a
28     “playback device” an “initial communication path” that does not traverse an access

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 1     point defining a secure WLAN, (ii) transmit “network configuration parameters”
 2     for the secure WLAN to the “playback device” via the “initial communication
 3     path,” and (iii) transition from communicating with the given “playback device”
 4     via the “initial communication path” to communicating with the given “playback
 5     device” via the secure WLAN. See, e.g., ‘896 Patent at Claims 1, 13, 20; see also,
 6     e.g., id. at 11:4-37.
 7            130. Additionally, it was not well-understood, routine, or conventional at
 8     the time of the invention of the ‘896 Patent to have a “computing device”
 9     configured to perform the specific combination of (i) while operating on a secure
10     WLAN defined by an access point, (a) receiving “user input indicating that a user
11     wishes to set up a playback device” to operate on the secure WLAN and
12     (b) receiving a first message indicating that a “given playback device is available
13     for setup,” (ii) transmitting a response to the first message that facilitates
14     establishing with the given playback device an “initial communication path” that
15     does not traverse the access point, (iii) transmitting, to the given “playback device”
16     via the “initial communication path,” a second message containing “network
17     configuration parameters” for the secure WLAN, (iv) after detecting an indication
18     that the given “playback device” has successfully received the “network
19     configuration parameters,” transitioning from communicating with the given
20     “playback device” via the “initial communication path” to communicating with the
21     given “playback device” via the secure WLAN. See, e.g., ‘896 Patent at Claims 1,
22     13, 20; see also, e.g., id. at 11:4-37.
23            131. These are just exemplary reasons why the inventions claimed in the
24     ‘896 Patent were not well-understood, routine, or conventional at the time of their
25     invention.
26            132. The unconventional nature of the ‘896 Patent has also been confirmed
27     by wide-spread industry praise for the patented technology of the ‘896 Patent as an
28     advancement in the field of home audio, as set forth below.

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 1           133. Moreover, the ‘896 Patent’s solutions are naturally rooted in consumer
 2     device-setup technology and cannot be performed solely by a human. Indeed, the
 3     ‘896 Patent’s claimed solutions provide a device-setup process comprising
 4     functions not previously performed by humans and therefore, are not merely drawn
 5     to longstanding human activities.
 6       The Inventions Claimed in U.S. Patent No. 10,439,896 Provide Important
 7                           Advantages to Wireless Audio Systems
 8           134. The playback-device-setup technology of the ‘896 Patent provides
 9     significant advantages that are important to wireless audio systems. The advantages
10     of Sonos’s patented playback-device-setup technology are reflected in the
11     recognition and praise it has received from the press. For example, in 2015, Ars
12     Technica explained:
13           There was no convoluted wireless setup, syncing issues, or complex
14           software to decipher: I simply downloaded the Sonos app on the
15           Google Play Store, pushed the sync button on the back of the speaker,
16           and it did the rest. When you can describe the entire setup procedure
17           in a single sentence, that’s special.
18     Ex. 76. Likewise, Gizmodo touted Sonos’s patented playback-device-setup
19     technology as “so easy that anybody can do it.” Ex. 77. And Consumer Reports
20     explained that Sonos’s playback-device-setup technology is “pretty simple.” Ex.
21     78.
22           135. Recognizing the advantages of Sonos’s patented playback-device-
23     setup technology, competitors in the industry, including Google, have incorporated
24     Sonos’s patented technology into their products and marketed the features that the
25     technology enables to their customers. For example, to market its Google Audio
26     Players on its website, Google includes a dedicated “Setup” tab that touts how
27     “[g]etting set up is simple.” See, e.g., Ex. 79. As another example, Google’s
28     website includes a webpage entitled “Set up your Google Nest or Google Home

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 1     speaker or display,” which explains that “[t]he Google Home app will walk you
 2     through the steps to set up your Google Nest or Google Home speaker or display.”
 3     Ex. 80.
 4           136. The media has also recognized the importance of Sonos’s patented
 5     playback-device-setup technology to Google and its customers. For instance,
 6     Android Central published an article entitled “How to set up Google Home and
 7     other Google Assistant speakers,” which touted Google’s setup as a “simple
 8     process.” Ex. 81. Similarly, Tom’s Guide exclaimed that the Google Home Mini
 9     is a “cinch to set up” and further described the setup procedure as “pretty
10     straightforward.” Ex. 82; see also, e.g., Ex. 83 (2019 CNET article explaining that
11     “[i]t’s easy to set up your Google Home . . . speaker for the first time”).
12               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 8,588,949
13           137. Sonos incorporates by reference and re-alleges paragraphs 47-71 of
14     this Complaint as if fully set forth herein.
15           138. Google and/or users of the Google Wireless Audio System have
16     directly infringed (either literally or under the doctrine of equivalents) and continue
17     to directly infringe one or more of the claims of the ‘949 Patent, in violation of 35
18     U.S.C. § 271(a), by making, using, offering for sale, and/or selling the Google
19     Wireless Audio System within the United States and/or importing the Google
20     Wireless Audio System into the United States without authority or license.
21           139. As just one non-limiting example, set forth below is an exemplary
22     infringement claim chart for claim 1 of the ‘949 Patent in connection with the
23     Google Wireless Audio System. This claim chart is based on publicly available
24     information. Sonos reserves the right to modify this claim chart, including, for
25     example, on the basis of information about the Google Wireless Audio System that
26     it obtains during discovery.
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 1              Claim 1                                   Google
 2         A multimedia       At least each smartphone, tablet, and computer installed
           controller         with the Google Home app, the YouTube Music app, and/or
 3         including a        the Google Play Music app (where a computing device
 4         processor, the     installed with at least one of these apps is referred to herein
           controller         as a “Chromecast-enabled computing device”3) comprises a
 5         configured to:     “multimedia controller including a processor,” as recited in
 6                            claim 1. See, e.g., Exs. 40-43, 87-92. At least each Home
                              Mini, Nest Mini, Home, Home Max, Home Hub, Nest Hub,
 7                            Nest Hub Max,4 Nest Wifi Point, Chromecast, Chromecast
 8                            Audio, and Chromecast Ultra comprises an “independent
                              playback device,” as recited in claim 1.
 9         provide a user     Each Chromecast-enabled computing device and Hub Audio
10         interface for a    Player is configured to provide a user interface for a player
           player group,      group that includes a plurality of Google Audio Players in a
11         wherein the player local area network (LAN), where each Google Audio Player
12         group includes a   is an independent playback device configured to playback a
           plurality of       multimedia output from a multimedia source.
13         players in a local
14         area network, and For instance, each Chromecast-enabled computing device
           wherein each       and Hub Audio Player is programmed with the capability to
15
           player is an       provide a user interface that facilitates forming and/or
16         independent        controlling one or more groups of Google Audio Players
           playback device    (e.g., via a Google Home, YouTube Music, Google Play
17
           configured to      Music, or Hub Audio Player user interface). See, e.g., Exs.
18         playback a         29, 34, 36, 38, 93. Some exemplary screenshots of aspects
           multimedia output of the user interface provided by a Chromecast-enabled
19
           from a multimedia computing device or Hub Audio Player are illustrated
20         source;            below.
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       3
23       Each of the Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, and Pixel 4 XL
       phones, the Pixel Slate tablet, and the Pixelbook and Pixelbook Go laptops installed
24     with the Google Home app, the YouTube Music app, and/or the Google Play Music
       app is an example of a “Chromecast-enabled computing device.”
25     4
         In addition to being configured as an “independent playback device,” as recited in
26     claim 1, each Home Hub, Nest Hub, and Nest Hub Max (referred to herein as a
       “Hub Audio Player”) is installed with Home/Nest Hub software such that the given
27     Hub Audio Player is configured as a “multimedia controller,” as recited in claim 1,
       that is capable of facilitating forming and controlling one or more groups of two or
28     more Google Audio Players.
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 1                           Each group includes two or more Google Audio Players in a
 2                           local Wi-Fi network (which is a LAN) that are configured to
                             play back audio in synchrony with one another, where each
 3                           Google Audio Player is an independent playback device
 4                           configured to playback at least an audio output from an
                             audio source (e.g., Google Play Music, Spotify, etc.). See
 5                           e.g., Ex. 29 (“Group any combination of Google Nest or
 6                           Google Home speakers and displays, Chromecast devices,
                             and speakers with Chromecast built-in together for
 7                           synchronous music throughout the home. Your favorite
 8                           music and audio from Chromecast-enabled apps are
                             instantly available to stream.”); Exs. 94, 106.
 9      accept via the user Each Chromecast-enabled computing device and Hub Audio
10      interface an input Player is configured to accept via the user interface an input
        to facilitate        to facilitate formation of the player group, where the input
11      formation of the     to facilitate formation of the player group indicates that at
12      player group,        least two of the plurality of Google Audio Players in the
        wherein the input LAN are to be included in the player group for synchronized
13      to facilitate        playback of a multimedia output from the same multimedia
14      formation of the     source.
        player group
15      indicates that at    For instance, each Chromecast-enabled computing device
16      least two of the     and Hub Audio Player is programmed with the capability to
        plurality of         display a GUI view (e.g., via a Google Home, YouTube
17      players in the local Music, Google Play Music, or Hub Audio Player user
18      area network are     interface) through which the Chromecast-enabled
        to be included in    computing device or Hub Audio Player receives user input
19
        the player group     that facilitates formation of a group of at least two Google
20      for synchronized     Audio Players in a local Wi-Fi network that are configured
        playback of a        to play back audio in synchrony. See, e.g., Ex. 29 (“Group
21
        multimedia output any combination of Google Nest or Google Home speakers
22      from the same        and displays, Chromecast devices, and speakers with
        multimedia           Chromecast built-in together for synchronous music
23
        source;              throughout the home. Your favorite music and audio from
24                           Chromecast-enabled apps are instantly available to
                             stream.”); Exs. 93-94, 106. Examples of this functionality
25
                             are illustrated in the following sequences of
26                           screenshots/images.
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        for any individual    Each Chromecast-enabled computing device and Hub Audio
23      player in the         Player is configured to, for any individual Google Audio
24      player group,         Player in the player group, accept via the user interface a
        accept via the user   player-specific input to adjust a volume of that individual
25      interface a player-   Google Audio Player, where the player-specific input to
26      specific input to     adjust the volume of that individual Google Audio Player
        adjust a volume of    causes that individual Google Audio Player to adjust its
27      that individual       volume.
28      player, wherein

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 1      the player-specific   For instance, each Chromecast-enabled computing device
 2      input to adjust the   and Hub Audio Player is programmed with the capability to
        volume of that        display a GUI view (e.g., via a Google Home, YouTube
 3      individual player     Music, Google Play Music, or Hub Audio Player user
 4      causes that           interface) having a respective player-specific volume slider
        individual player     for each individual Google Audio Player in a group through
 5      to adjust its         which the Chromecast-enabled computing device or Hub
 6      volume; and           Audio Player accepts a player-specific input to adjust a
                              volume of an individual Google Audio Player, which in turn
 7                            causes the individual Google Audio Player to adjust its
 8                            volume. Examples of this functionality are illustrated in the
                              following sequences of screenshots.
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 1                          See also, e.g., Ex. 55 (“When casting to a group, there are
 2                          two ways to change the volume: . . . 2. Changing a single
                            speaker’s volume when it’s part of a group. This action
 3                          will only change that individual speaker.”) (emphasis in
 4                          original); Exs. 29, 84, 106.
        accept via the user Each Chromecast-enabled computing device and Hub Audio
 5      interface a group- Player is configured to accept via the user interface a group-
 6      level input to      level input to adjust a volume associated with the player
        adjust a volume     group, where the group-level input to adjust the volume
 7      associated with     associated with the player group causes each of the Google
 8      the player group,   Audio Players in the player group to adjust its respective
        wherein the         volume.
 9      group-level input
10      to adjust the       For instance, each Chromecast-enabled computing device
        volume associated and Hub Audio Player is programmed with the capability to
11      with the player     display a GUI view (e.g., via a Google Home, YouTube
12      group causes each Music, Google Play Music, or Hub Audio Player user
        of the players in   interface) having a “Group volume” slider for a group of
13      the player group to Google Audio Players through which the Chromecast-
14      adjust its          enabled computing device or Hub Audio Player accepts a
        respective          group-level input to adjust a volume associated with the
15      volume.             group of Google Audio Players, which in turn causes each
16                          Google Audio Player in the group to adjust its respective
                            volume. Examples of this functionality are illustrated in the
17                          following sequences of screenshots.
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                              See also, e.g., Ex. 55 (“When casting to a group, there are
16                            two ways to change the volume: 1. Changing the group
                              volume. This action will change the volume of all speakers
17
                              within the group.”) (emphasis in original); Ex. 84.
18
19           140. Additionally and/or alternatively, Google has indirectly infringed and
20     continues to indirectly infringe the asserted claims of the ‘949 Patent, in violation
21     of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless Audio
22     System to directly infringe the asserted claims of the ‘949 Patent. In particular, (a)
23     Google had actual knowledge of the ‘949 Patent or was willfully blind to its
24     existence prior to (at least as early as October 2016), and no later than, the filing of
25     this complaint (see ¶¶ 35-38 above), (b) Google intentionally causes, urges, or
26     encourages users of the Google Wireless Audio System to directly infringe one or
27     more claims of the ‘949 Patent by promoting, advertising, and instructing customers
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 1     and potential customers about the Google Wireless Audio System and uses thereof,
 2     including infringing uses (see Exs. 29, 34-39, 55), (c) Google knows (or should
 3     know) that its actions will induce users of the Google Wireless Audio System to
 4     directly infringe one or more claims the ‘949 Patent, and (d) users of the Google
 5     Wireless Audio System directly infringe one or more claims of the ‘949 Patent. For
 6     instance, at a minimum, Google has supplied and continues to supply the Google
 7     Apps to customers while knowing that installation and/or use of the Google Apps
 8     will infringe one or more claims of the ‘949 Patent and that Google’s customers
 9     then directly infringe one or more claims of the ‘949 Patent by installing and/or
10     using the Google Apps in accordance with Google’s product literature. See, e.g.,
11     id.
12           141. As another example, Google has supplied and continues to supply Hub
13     Audio Players to customers while knowing that use of these products will infringe
14     one or more claims of the ‘949 Patent and that Google’s customers then directly
15     infringe one or more claims of the ‘949 Patent by using these Hub Audio Players
16     in accordance with Google’s product literature. See, e.g., Exs. 29, 84.
17           142. Additionally and/or alternatively, Google has indirectly infringed and
18     continues to indirectly infringe one or more of the claims of the ‘949 Patent, in
19     violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
20     States, and/or importing into the United States, components in connection with the
21     Google Wireless Audio System that contribute to the direct infringement of the ‘949
22     Patent by users of the Google Wireless Audio System. In particular, (a) Google
23     had actual knowledge of the ‘949 Patent or was willfully blind to its existence prior
24     to (at least as early as October 2016), and no later than, the filing of this action (see
25     ¶¶ 35-38 above), (b) Google offers for sale, sells, and/or imports, in connection with
26     the Google Wireless Audio System, one or more material components of the
27     invention of the ‘949 Patent that are not staple articles of commerce suitable for
28     substantial noninfringing use, (c) Google knows (or should know) that such

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 1     component(s) were especially made or especially adapted for use in an infringement
 2     of the ‘949 Patent, and (d) users of devices that comprise such material
 3     component(s) directly infringe one or more claims of the ‘949 Patent. For instance,
 4     at a minimum, Google offers for sale, sells, and/or imports the Google Apps for
 5     installation on devices (e.g., smartphones, tablets, and computers) that meet one or
 6     more claims of the ‘949 Patent. See, e.g., Exs. 29, 34-39, 55. The Google Apps are
 7     material components of the devices that meet the one or more claims of the ‘949
 8     Patent. Further, Google especially made and/or adapted the Google Apps for use
 9     in devices that meet the one or more claims of the ‘949 Patent, and the Google Apps
10     are not a staple article of commerce suitable for substantial noninfringing use.
11     Google’s customers then directly infringe the one or more claims of the ‘949 Patent
12     by installing and/or using the Google Apps on the customers’ devices.
13           143. As another example, Google offers for sale, sells, and/or imports
14     software updates for Hub Audio Players that meet one or more claims of the ‘949
15     Patent. See, e.g., Exs. 29, 84, 85. These software updates are material components
16     of the Hub Audio Players that meet the one or more claims of the ‘949 Patent.
17     Further, Google especially made and/or adapted these software updates for use in
18     the Hub Audio Players that meet the one or more claims of the ‘949 Patent, and
19     these software updates are not staple articles of commerce suitable for substantial
20     noninfringing use. Google’s customers then directly infringe the one or more
21     claims of the ‘949 Patent by installing and using software updates on the Hub Audio
22     Players.
23           144. Google’s infringement of the ‘949 Patent is also willful because
24     Google (a) had actual knowledge of the ‘949 Patent or was willfully blind to its
25     existence prior to (at least as early as October 2016), and no later than, the filing of
26     this action (see ¶¶ 35-38 above), (b) engaged in the aforementioned activity despite
27     an objectively high likelihood that Google’s actions constituted infringement of the
28     ‘949 Patent, and (c) this objectively-defined risk was either known or so obvious

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 1     that it should have been known to Google.
 2           145. Additional allegations regarding Google’s pre-suit knowledge of the
 3     ‘949 Patent and willful infringement will likely have evidentiary support after a
 4     reasonable opportunity for discovery.
 5           146. Sonos is in compliance with any applicable marking and/or notice
 6     provisions of 35 U.S.C. § 287 with respect to the ‘949 Patent.
 7           147. Sonos is entitled to recover from Google all damages that Sonos has
 8     sustained as a result of Google’s infringement of the ‘949 Patent, including, without
 9     limitation, a reasonable royalty and lost profits.
10           148. Google’s infringement of the ‘949 Patent was and continues to be
11     willful and deliberate, entitling Sonos to enhanced damages.
12           149. Google’s infringement of the ‘949 Patent is exceptional and entitles
13     Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
14     U.S.C. § 285.
15           150. Google’s infringement of the ‘949 Patent has caused irreparable harm
16     (including the loss of market share) to Sonos and will continue to do so unless
17     enjoined by this Court.
18            COUNT II: INFRINGEMENT OF U.S. PATENT NO. 9,195,258
19           151. Sonos incorporates by reference and re-alleges paragraphs 47-55 and
20     72-88 of this Complaint as if fully set forth herein.
21           152. Google and/or users of the Google Wireless Audio System have
22     directly infringed (either literally or under the doctrine of equivalents) and continue
23     to directly infringe one or more of the claims of the ‘258 Patent, in violation of 35
24     U.S.C. § 271(a), by making, using, offering for sale, and/or selling the Google
25     Wireless Audio System within the United States and/or importing the Google
26     Wireless Audio System into the United States without authority or license.
27           153. As just one non-limiting example, set forth below is an exemplary
28     infringement claim chart for claim 17 of the ‘258 Patent in connection with the

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 1     Google Wireless Audio System. This claim chart is based on publicly available
 2     information. Sonos reserves the right to modify this claim chart, including, for
 3     example, on the basis of information about the Google Wireless Audio System that
 4     it obtains during discovery.
 5
               Claim 17                                     Google
 6      17. A first zone player   At least each Home Mini, Nest Mini, Home, Home
 7      comprising:               Max, Home Hub, Nest Hub, Nest Hub Max, Nest Wifi
                                  Point, Chromecast, Chromecast Audio, and Chromecast
 8                                Ultra comprises a “zone player,” as recited in claim 17.
 9                                At least each smartphone, tablet, and computer installed
                                  with the Google Home app, the YouTube Music app,
10                                the Google Play Music app, and/or other Chromecast-
11                                enabled apps (e.g., Spotify) (where a computing device
                                  installed with at least one of these apps is referred to
12                                herein as a “Chromecast-enabled computing device”)
13                                comprises a “controller,” as recited in claim 17.
        a network interface       Each of the foregoing Google Audio Players includes a
14      configured to interface   network interface configured to interface the Google
15      the first zone player     Audio Player with at least a LAN, such as a Wi-Fi
        with at least a local     interface. See, e.g., Exs. 68, 95-98.
16      area network (LAN);
17      a device clock            Each of the foregoing Google Audio Players includes a
        configured to generate    device clock configured to generate clock time
18      clock time information    information for the Google Audio Player. See, e.g.,
19      for the first zone        Exs. 68, 95-98.
        player;
20      one or more               Each of the foregoing Google Audio Players includes
21      processors; and           one or more processors. See, e.g., Exs. 68, 95-98.
        a tangible, non-          Each of the foregoing Google Audio Players includes a
22
        transitory computer-      tangible, non-transitory computer-readable memory
23      readable memory           comprising executable program instructions that enable
        having instructions       a Google Audio Player to perform the functions
24
        stored thereon that,      identified below. See, e.g., Exs. 68, 85, 95-98.
25      when executed by the
        one or more
26
        processors, cause the
27      first zone player to:
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 1              Claim 17                                    Google
 2      receive control             Each of the foregoing Google Audio Players comprises
        information from any        program instructions that, when executed by a first
 3      one of a plurality of       Google Audio Player’s one or more processors, cause
 4      controllers over the        that Google Audio Player to receive control
        LAN via the network         information from any one of a plurality of Chromecast-
 5      interface, wherein the      enabled computing devices over the LAN via the
 6      received control            network interface, where the received control
        information comprises       information comprises a direction for the first Google
 7      a direction for the first   Audio Player to enter into a synchrony group with at
 8      zone player to enter        least a second Google Audio Player.
        into a synchrony group
 9      with at least a second    For instance, each of the foregoing Google Audio
10      zone player;              Players is programmed with the capability to receive
                                  over a local Wi-Fi network (which is a LAN), from any
11                                of a plurality of Chromecast-enabled computing
12                                devices, a direction to enter into a group of two or more
                                  Google Audio Players that are configured to play back
13                                audio in synchrony with one another. See e.g., Ex. 29
14                                (“Group any combination of Google Nest or Google
                                  Home speakers and displays, Chromecast devices, and
15                                speakers with Chromecast built-in together for
16                                synchronous music throughout the home. Your favorite
                                  music and audio from Chromecast-enabled apps are
17                                instantly available to stream.”); Exs. 30, 69, 94, 99,
18                                104, 106.
        in response to the        Each of the foregoing Google Audio Players comprises
19
        direction, enter into the program instructions that, when executed by a first
20      synchrony group with Google Audio Player’s one or more processors, cause
        the second zone player, that Google Audio Player to, in response to the
21
                                  direction, enter into the synchrony group with the
22                                second Google Audio Player.
23
                                    For instance, each of the foregoing Google Audio
24                                  Players is programmed such that, in response to
                                    receiving a direction to enter into a group of Google
25
                                    Audio Players, the Google Audio Player functions to
26                                  enter into the group with the one or more other Google
                                    Audio Players. See e.g., Exs. 29, 30, 69, 94, 99, 104.
27
                                    In such a group, a first Google Audio Player is
28                                  designated to serve as the “master” of the group

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 1             Claim 17                                     Google
 2                                (sometimes referred to by Google as the “leader” of the
                                  group), and any other Google Audio Player in the
 3                                group is designated to serve as a “slave” of the group.
 4      wherein in the            Once grouped, the first and second Google Audio
        synchrony group, the      Players are configured to play back audio in synchrony
 5      first and second zone     based at least in part on (i) audio content, (ii) playback
 6      players are configured timing information associated with the audio content
        to playback audio in      that is generated by the first Google Audio Player that
 7      synchrony based at        is designated to serve as the “master” of the group, and
 8      least in part on (i)      (iii) clock time information for the first Google Audio
        audio content, (ii)       Player, where the generated playback timing
 9      playback timing           information and the clock time information are
10      information associated transmitted from the first Google Audio Player to the
        with the audio content, second Google Audio Player that is designated to serve
11      wherein the playback      as a “slave” of the group, and where the Google Audio
12      timing information is     Players in the group remain independently clocked
        generated by one of the while playing back audio in synchrony.
13      first or second zone
14      players, and (iii) clock For instance, Google states that once its Google Audio
        time information for      Players have been grouped, those audio players are
15
        the one of the first or   configured to play audio in synchrony. See, e.g., Ex.
16      second zone players,      29 (“Group any combination of Google Nest or Google
        and wherein the           Home speakers and displays, Chromecast devices, and
17
        generated playback        speakers with Chromecast built-in together for
18      timing information and synchronous music throughout the home.”); see also,
        the clock time            e.g., Exs. 69, 99, 106.
19
        information are
20      transmitted from the      Further, while in a group, a first Google Audio Player
        one of the first or       that is designated to serve as the “master”/“leader” of
21
        second zone players to the group receives audio content from an audio source
22      the other of the first or (e.g., an Internet-based audio source), and then the first
        second zone players,      Google Audio Player and a second Google Audio
23
        wherein the first and     Player that is designated to serve as a “slave” of the
24      second zone players       group are each configured play back audio in
        remain independently      synchrony based on the audio content, playback timing
25
        clocked while playing information associated with the audio content and
26      back audio in             generated by the first Google Audio Player, and clock
        synchrony; and            time information for the first Google Audio Player, all
27
                                  of which is sent from the first Google Audio Player to
28                                the second Google Audio Player via data packets –

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 1             Claim 17                                     Google
 2                                including but not limited to 62-byte UDP packets, 476-
                                  byte UDP packets, and/or encrypted TCP packets sent
 3                                via port 10001. Further yet, while playing back audio
 4                                in synchrony, each of the first and second Google
                                  Audio Players in the group continues to operate in
 5                                accordance with its own respective clock.
 6      transmit status           Each of the foregoing Google Audio Players comprises
        information to at least   program instructions that, when executed by a first
 7      one of the plurality of   Google Audio Player’s one or more processors, cause
 8      controllers over the      that Google Audio Player to transmit status information
        LAN via the network       to at least one of the plurality of Chromecast-enabled
 9      interface, wherein the    computing devices over the LAN via the network
10      status information        interface, where the status information comprises an
        comprises an              indication of a status of the synchrony group.
11      indication of a status of
12      the synchrony group.      For instance, while in a group, each Google Audio
                                  Player in the group (including the Google Audio Player
13                                that is designated to serve as the “master” of the group)
14                                functions to send status information to any Chromecast-
                                  enabled computing device on the same local Wi-Fi
15
                                  network as the Google Audio Players in the group (e.g.,
16                                via MDNS packets) that provides an indication of a
                                  status of the group, including but not limited to status
17
                                  information that provides an identification of a name of
18                                the group, an identification of an “elected leader” of the
                                  group, and/or an identification of the group members.
19
                                  See also, e.g., Ex. 100 (“GCKMultizoneStatus Class”
20                                providing “[t]he status of a multizone group” including
                                  “[t]he member devices of the multizone group.”).
21
22           154. Additionally and/or alternatively, Google has indirectly infringed and
23     continues to indirectly infringe one or more of the claims of the ‘258 Patent, in
24     violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
25     Audio System to directly infringe the one or more claims of the ‘258 Patent. In
26     particular, (a) Google had actual knowledge of the ‘258 Patent or was willfully
27     blind to its existence prior to (at least as early as October 2016), and no later than,
28

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 1     the filing of this action (see ¶¶ 35-38 above), (b) Google intentionally causes, urges,
 2     or encourages users of the Google Wireless Audio System to directly infringe one
 3     or more claims of the ‘258 Patent by promoting, advertising, and instructing
 4     customers and potential customers about the Google Wireless Audio System and
 5     uses of the system, including infringing uses (see Exs. 20, 29, 60, 61), (c) Google
 6     knows (or should know) that its actions will induce users of the Google Wireless
 7     Audio System to directly infringe one or more claims the ‘258 Patent, and (d) users
 8     of the Google Wireless Audio System directly infringe one or more claims of the
 9     ‘258 Patent. For instance, at a minimum, Google has supplied and continues to
10     supply Google Audio Players to customers while knowing that use of these products
11     will infringe one or more claims of the ‘258 Patent and that Google’s customers
12     then directly infringe one or more claims of the ‘258 Patent by using these Google
13     Audio Players in accordance with Google’s product literature. See, e.g., id.
14           155. Additionally and/or alternatively, Google has indirectly infringed and
15     continues to indirectly infringe one or more of the claims of the ‘258 Patent, in
16     violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
17     States, and/or importing into the United States, components in connection with the
18     Google Wireless Audio System that contribute to the direct infringement of the ‘258
19     Patent by users of the Google Wireless Audio System. In particular, (a) Google
20     had actual knowledge of the ‘258 Patent or was willfully blind to its existence prior
21     to (at least as early as October 2016), and no later than, the filing of this action (see
22     ¶¶ 35-38 above), (b) Google offers for sale, sells, and/or imports, in connection with
23     the Google Wireless Audio System, one or more material components of the
24     invention of the ‘258 Patent that are not staple articles of commerce suitable for
25     substantial noninfringing use, (c) Google knows (or should know) that such
26     component(s) were especially made or especially adapted for use in an infringement
27     of the ‘258 Patent, and (d) users of devices that comprise such material
28     component(s) directly infringe one or more claims of the ‘258 Patent. For instance,

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 1     at a minimum, Google offers for sale, sells, and/or imports software updates for
 2     Google Audio Players that meet one or more claims of the ‘258 Patent. See, e.g.,
 3     Ex. 20, 29, 60, 61, 85. These software updates are material components of the
 4     Google Audio Players that meet the one or more claims of the ‘258 Patent. Further,
 5     Google especially made and/or adapted these software updates for use in the Google
 6     Audio Players that meet the one or more claims of the ‘258 Patent, and these
 7     software updates are not staple articles of commerce suitable for substantial
 8     noninfringing use. Google’s customers then directly infringe the one or more
 9     claims of the ‘258 Patent by installing and using software updates on the Google
10     Audio Players.
11           156. Google’s infringement of the ‘258 Patent is also willful because
12     Google (a) had actual knowledge of the ‘258 Patent or was willfully blind to its
13     existence prior to (at least as early as October 2016), and no later than, the filing of
14     this action (see ¶¶ 35-38 above), (b) engaged in the aforementioned activity despite
15     an objectively high likelihood that Google’s actions constituted infringement of the
16     ‘258 Patent, and (c) this objectively-defined risk was either known or so obvious
17     that it should have been known to Google.
18           157. Additional allegations regarding Google’s pre-suit knowledge of the
19     ‘258 Patent and willful infringement will likely have evidentiary support after a
20     reasonable opportunity for discovery.
21           158. Sonos is in compliance with any applicable marking and/or notice
22     provisions of 35 U.S.C. § 287 with respect to the ‘258 Patent.
23           159. Sonos is entitled to recover from Google all damages that Sonos has
24     sustained as a result of Google’s infringement of the ‘258 Patent, including, without
25     limitation, a reasonable royalty and lost profits.
26           160. Google’s infringement of the ‘258 Patent was and continues to be
27     willful and deliberate, entitling Sonos to enhanced damages.
28           161. Google’s infringement of the ‘258 Patent is exceptional and entitles

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 1     Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
 2     U.S.C. § 285.
 3           162. Google’s infringement of the ‘258 Patent has caused irreparable harm
 4     (including the loss of market share) to Sonos and will continue to do so unless
 5     enjoined by this Court.
 6           COUNT III: INFRINGEMENT OF U.S. PATENT NO. 9,219,959
 7           163. Sonos incorporates by reference and re-alleges paragraphs 47-55 and
 8     89-106 of this Complaint as if fully set forth herein.
 9           164. Google and/or users of the Google Wireless Audio System have
10     directly infringed (either literally or under the doctrine of equivalents) and continue
11     to directly infringe one or more of the claims of the ‘959 Patent, in violation of 35
12     U.S.C. § 271(a), by making, using, offering for sale, and/or selling the Google
13     Wireless Audio System (e.g., the Google Home Max) within the United States
14     and/or importing the Google Wireless Audio System into the United States without
15     authority or license.
16           165. As just one non-limiting example, set forth below is an infringement
17     claim chart of exemplary claim 10 of the ‘959 Patent in connection with the Google
18     Wireless Audio System.         This claim chart is based on publicly available
19     information. Sonos reserves the right to modify this claim chart, including, for
20     example, on the basis of information about the Google Wireless Audio System that
21     it obtains during discovery.
22
              Claim 10                                       Google
23      10. A playback           At least each Google Home Max comprises a “playback
24      device configured to     device configured to output audio in a multi-channel
        output audio in a        listening environment,” as recited in claim 10. At least
25      multi-channel            each smartphone, tablet, and computer installed with the
26      listening                Google Home app (where a computing device installed
        environment, the         with at least the Google Home app is referred to herein as
27      playback device          a “Chromecast-enabled computing device”) comprises a
28      comprising:              “controller,” as recited in claim 10.

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 1            Claim 10                                   Google
 2      a network interface  The foregoing Google Audio Player includes a network
        configured to        interface configured to receive audio data over a network,
 3      receive audio data   such as a Wi-Fi interface. See, e.g., Ex. 96
 4      over a network;      (“802.11b/g/n/ac (2.4GHz/5Ghz) Wi-Fi for high-
                             performance streaming”); Ex. 68 (same).
 5      a plurality of       The foregoing Google Audio Player includes a plurality of
 6      speaker drivers      speaker drivers configured to output audio based on the
        configured to output audio data. See, e.g., Ex. 68 (“Two 4.5 in (114 mm) high-
 7      audio based on the   excursion (+/- 11 mm) dual voice-coil woofers . . . Two
 8      audio data;          0.7 in (18 mm) custom tweeters”); Ex. 96 (same).
        one or more          The foregoing Google Audio Player includes one or more
 9      processors; and      processors. See, e.g., Ex. 68 (“Processor[:] 1.5GHz 64-bit
10                           quad-core ARM® Cortex" A53”); Ex. 96 (same).
        tangible, non-       The foregoing Google Audio Player includes tangible,
11
        transitory, computer non-transitory, computer-readable memory comprising
12      readable memory      executable program instructions that enable the Google
        comprising           Audio Player to perform the functions identified below.
13
        instructions encoded See, e.g., Exs. 68, 96.
14      therein, wherein the
        instructions, when
15
        executed by the one
16      or more processors,
        cause the playback
17
        device to
18      (i) receive a signal The foregoing Google Audio Player comprises program
19      from a controller    instructions that, when executed by the Google Audio
        over the network,    Player’s one or more processors, cause the Google Audio
20      wherein the signal   Player to receive a signal from a controller over a
21      comprises an         network, where the signal comprises an instruction for the
        instruction for the  Google Audio Player to pair with one or more other
22      playback device to   Google Audio Players.
23      pair with one or
        more playback        For instance, each Google Home Max is programmed with
24      devices,             the capability to receive, from a Chromecast-enabled
25                           computing device over a Wi-Fi network that the Google
                             Home Max is connected to, an instruction to begin
26                           operating as part of a “speaker pair” configuration for
27                           “stereo sound” (also referred to by Google as a “stereo
                             pairing”) with another Google Home Max, which is a
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 1           Claim 10                                      Google
 2                            configuration involving two or more Google Audio
                              Players having different playback roles. See, e.g., Ex. 69
 3                            (“Pair Google Home Max speakers[:] You can pair two
 4                            Google Home Max speakers (devices) for stereo sound
                              and an immersive experience for music and casting. . . .
 5                            Step 1. Place speakers in the best position in your room . .
 6                            . Step 2. Set up both Google Home Max speakers . . . Step
                              3. Pair the speakers . . . Step 4. Control the speaker pair.”);
 7                            Ex. 68 (“Wireless stereo pairing”). In a “speaker pair”
 8                            configuration, one Google Home Max has the role of
                              playing back the left audio channel, and the other Google
 9                            Home Max has the role of playing back the right audio
10                            channel. See, e.g., Ex. 69 (“Tap Left or Right to match
                              the location of the blinking speaker . . . .”) (emphasis in
11                            original).
12
                              For example, at the time that a user inputs a request to
13                            create a given “speaker pair” via a Chromecast-enabled
14                            computing device, the Chromecast-enabled computing
                              device transmits control packets to at least a first Google
15                            Home Max in the given “speaker pair.” On information
16                            and belief, these control packets include an instruction for
                              the first Google Home Max to begin operating as part of
17                            the given “speaker pair” with at least a second Google
18                            Home Max. See, e.g., Ex. 69 (“When two speakers are
                              paired, your Assistant lives and responds on the left
19
                              speaker. To use your Assistant on the right speaker,
20                            unpair the speakers using the steps below. Then you can
                              use your Assistant on both speakers.”) (emphasis in
21
                              original).
22      (ii) process the      The foregoing Google Audio Player comprises program
        audio data before     instructions that, when executed by the Google Audio
23
        the playback device   Player’s one or more processors, cause the Google Audio
24      outputs audio from    Player to process the audio data before the Google Audio
        the plurality of      Player outputs audio from the plurality of speaker drivers.
25
        speaker drivers,
26                            For instance, each Google Home Max is programmed with
                              the capability to perform various types of audio processing
27
                              on received audio data before outputting audio based on
28                            that audio data, examples of which may include digital-to-

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 1           Claim 10                                      Google
 2                             analog conversion, decompression, decryption, etc. See,
                               e.g., Ex. 96 (listing various “[s]upported [a]udio
 3                             [f]ormats”); Ex. 107.
 4      (iii) determine that a The foregoing Google Audio Player comprises program
        type of pairing of     instructions that, when executed by the Google Audio
 5      the playback device Player’s one or more processors, cause the Google Audio
 6      comprises one of at Player to determine that a type of pairing of the Google
        least a first type of  Audio Player comprises one of at least a first type of
 7      pairing or a second pairing or a second type of pairing.
 8      type of pairing[,]
                               For instance, each Google Home Max is programmed with
 9                             the capability to operate in accordance with a particular
10                             type of pairing, such as a “no pairing” type of pairing or a
                               “speaker pair” type of pairing. See, e.g., Ex. 69 (“Pair the
11                             speakers . . . Unpair speakers”); Ex. 68 (“Wireless stereo
12                             pairing”).
13                             Further, each Google Home Max is programmed with the
14                             capability to determine its type of pairing at various times,
                               including but not limited to when the Google Home Max
15
                               receives an instruction to begin or stop operating as part of
16                             a “speaker pair” with another Google Home Max, when
                               the Google Home Max is performing certain functions in
17
                               accordance with its current “pairing type,” and/or when
18                             the Google Home Max powers up. See, e.g., id.
        (iv) configure the     The foregoing Google Audio Player comprises program
19
        playback device to     instructions that, when executed by the Google Audio
20      perform a first        Player’s one or more processors, cause the Google Audio
        equalization of the    Player to configure itself to (i) perform a first equalization
21
        audio data before      of the audio data before outputting audio based on the
22      outputting audio       audio data from the plurality of speaker drivers when the
        based on the audio     type of pairing is determined to comprise the first type of
23
        data from the          pairing and (ii) perform a second equalization of the audio
24      plurality of speaker   data before outputting audio based on the audio data from
        drivers when the       the plurality of speaker drivers when the type of pairing is
25
        type of pairing is     determined to comprise the second type of pairing.
26      determined to
27      comprise the first     For instance, each Google Home Max is programmed with
        type of pairing, and   the capability to change its equalization (including but not
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 1           Claim 10                                     Google
 2                             limited to its channel and/or frequency output) when its
        (v) configure the      type of pairing changes from one of the aforementioned
 3      playback device to     types of pairing to another of the aforementioned types of
 4      perform a second       pairing. See, e.g., Ex. 69 (“Pair the speakers . . . Unpair
        equalization of the    speakers”).
 5      audio data before
 6      outputting audio       As one example to illustrate, as discussed above, each
        based on the audio     Google Home Max is programmed with the capability to
 7      data from the          operate in accordance with either a “no pairing” type of
 8      plurality of speaker   pairing or a “speaker pair” type of pairing. When
        drivers when the       operating in accordance with a “no pairing” type of
 9      type of pairing is     pairing, the Google Home Max is configured to perform a
10      determined to          first equalization of audio data that is specific to the “no
        comprise the second    pairing” type of pairing, which involves using one or more
11      type of pairing.       parameters that affect at least the channel output of one or
12                             more of the Google Home Max’s speaker drivers such that
                               both the left channel and the right channel of audio
13                             content are output via the Google Home Max’s speaker
14                             drivers (perhaps along with using a first set of gain,
                               frequency, phase, and/or time delay parameters that are
15                             specific to a “no pairing” type of pairing). See, e.g., Ex.
16                             69 (“Pair Google Home Max speakers[:] You can pair two
                               Google Home Max speakers (devices) for stereo sound
17                             and an immersive experience for music and casting. . . .
18                             Step 1. Place speakers in the best position in your room . .
                               . Step 2. Set up both Google Home Max speakers . . . Step
19
                               3. Pair the speakers . . . Step 4. Control the speaker pair.”).
20                             On the other hand, when operating in accordance with a
                               “speaker pair” type of pairing, the Google Home Max is
21
                               configured to perform a second equalization of audio data
22                             that is specific to the “speaker pair” type of pairing, which
                               involves using one or more parameters that affect at least
23
                               the channel output of one or more of the Google Home
24                             Max’s speaker drivers such that only a given one of the
                               left or right channel of audio content is output via the
25
                               Google Home Max’s speaker drivers (perhaps along with
26                             using a second set of gain, frequency, phase, and/or time
                               delay parameters that are specific to a “stereo pairing”
27
                               type of pairing). See, e.g., id.
28

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 1           166. Additionally and/or alternatively, Google has indirectly infringed and
 2     continues to indirectly infringe one or more of the claims of the ‘959 Patent, in
 3     violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
 4     Audio System to directly infringe the one or more claims of the ‘959 Patent. In
 5     particular, (a) Google had actual knowledge of the ‘959 Patent or was willfully
 6     blind to its existence prior to (at least as early as October 2016), and no later than,
 7     the filing of this action (see ¶¶ 35-38 above), (b) Google intentionally causes, urges,
 8     or encourages users of the Google Wireless Audio System to directly infringe one
 9     or more claims of the ‘959 Patent by promoting, advertising, and instructing
10     customers and potential customers about the Google Wireless Audio System and
11     uses of the system, including infringing uses (see Exs. 67-70), (c) Google knows
12     (or should know) that its actions will induce users of the Google Wireless Audio
13     System to directly infringe one or more claims the ‘959 Patent, and (d) users of the
14     Google Wireless Audio System directly infringe one or more claims of the ‘959
15     Patent. For instance, at a minimum, Google has supplied and continues to supply
16     the Google Home Max to customers while knowing that use of this product will
17     infringe one or more claims of the ‘959 Patent and that Google’s customers then
18     directly infringe one or more claims of the ‘959 Patent by using the Google Home
19     Max in accordance with Google’s product literature. See, e.g., id.
20           167. Additionally and/or alternatively, Google has indirectly infringed and
21     continues to indirectly infringe one or more of the claims of the ‘959 Patent, in
22     violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
23     States, and/or importing into the United States, components in connection with the
24     Google Wireless Audio System that contribute to the direct infringement of the ‘959
25     Patent by users of the Google Wireless Audio System. In particular, (a) Google
26     had actual knowledge of the ‘959 Patent or was willfully blind to its existence prior
27     to (at least as early as October 2016), and no later than, the filing of this action (see
28     ¶¶ 35-38 above), (b) Google offers for sale, sells, and/or imports, in connection with

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 1     the Google Wireless Audio System, one or more material components of the
 2     invention of the ‘959 Patent that are not staple articles of commerce suitable for
 3     substantial noninfringing use, (c) Google knows (or should know) that such
 4     component(s) were especially made or especially adapted for use in an infringement
 5     of the ‘959 Patent, and (d) users of devices that comprise such material
 6     component(s) directly infringe one or more claims of the ‘959 Patent. For instance,
 7     at a minimum, Google offers for sale, sells, and/or imports software updates for the
 8     Google Home Max that meets one or more claims of the ‘959 Patent. See, e.g., Exs.
 9     67-70, 85. These software updates are material components of the Google Home
10     Max that meets the one or more claims of the ‘959 Patent. Further, Google
11     especially made and/or adapted these software updates for use in the Google Home
12     Max that meets the one or more claims of the ‘959 Patent, and these software
13     updates are not staple articles of commerce suitable for substantial noninfringing
14     use. Google’s customers then directly infringe the one or more claims of the ‘959
15     Patent by installing and using software updates on the Google Home Max.
16           168. Google’s infringement of the ‘959 Patent is also willful because
17     Google (a) had actual knowledge of the ‘959 Patent or was willfully blind to its
18     existence prior to (at least as early as October 2016), and no later than, the filing of
19     this action (see ¶¶ 35-38 above), (b) engaged in the aforementioned activity despite
20     an objectively high likelihood that Google’s actions constituted infringement of the
21     ‘959 Patent, and (c) this objectively-defined risk was either known or so obvious
22     that it should have been known to Google.
23           169. Additional allegations regarding Google’s pre-suit knowledge of the
24     ‘959 Patent and willful infringement will likely have evidentiary support after a
25     reasonable opportunity for discovery.
26           170. Sonos is in compliance with any applicable marking and/or notice
27     provisions of 35 U.S.C. § 287 with respect to the ‘959 Patent.
28           171. Sonos is entitled to recover from Google all damages that Sonos has

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 1     sustained as a result of Google’s infringement of the ‘959 Patent, including, without
 2     limitation, a reasonable royalty and lost profits.
 3           172. Google’s infringement of the ‘959 Patent was and continues to be
 4     willful and deliberate, entitling Sonos to enhanced damages.
 5           173. Google’s infringement of the ‘959 Patent is exceptional and entitles
 6     Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
 7     U.S.C. § 285.
 8           174. Google’s infringement of the ‘959 Patent has caused irreparable harm
 9     (including the loss of market share) to Sonos and will continue to do so unless
10     enjoined by this Court.
11           COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 10,209,953
12           175. Sonos incorporates by reference and re-alleges paragraphs 47-55 and
13     107- 119 of this Complaint as if fully set forth herein.
14           176. Google and/or users of the Google Wireless Audio System have
15     directly infringed (either literally or under the doctrine of equivalents) and continue
16     to directly infringe one or more of the claims of the ‘953 Patent, in violation of 35
17     U.S.C. § 271(a), by making, using, offering for sale, and/or selling the Google
18     Wireless Audio System within the United States and/or importing the Google
19     Wireless Audio System into the United States without authority or license.
20           177. As just one non-limiting example, set forth below is an exemplary
21     infringement claim chart for claim 7 of the ‘953 Patent in connection with the
22     Google Wireless Audio System. This claim chart is based on publicly available
23     information. Sonos reserves the right to modify this claim chart, including, for
24     example, on the basis of information about the Google Wireless Audio System that
25     it obtains during discovery.
26
               Claim 7                                  Google
27      7. A first zone player   At least each Home Mini, Nest Mini, Home, Home Max,
28      comprising:              Home Hub, Nest Hub, Nest Hub Max, Nest Wifi Point,

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 1             Claim 7                                      Google
 2                                Chromecast, Chromecast Audio, and Chromecast Ultra
                                  comprises a “zone player,” as recited in claim 7. These
 3                                Google Audio Players are controlled by smartphones,
 4                                tablets, and computers installed with the Google Home
                                  app, the Google Play Music app, the YouTube Music
 5                                app, and/or other Chromecast-enabled apps (e.g.,
 6                                Spotify) (where a computing device installed with at
                                  least one of these apps is referred to herein as a
 7                                “Chromecast-enabled computing device”).
 8      a network interface       Each of the foregoing Google Audio Players includes a
        that is configured to     network interface that is configured to provide an
 9      provide an                interconnection with at least one data network, such as a
10      interconnection with      Wi-Fi interface. See, e.g., Exs. 68, 95-98.
        at least one data
11      network;
12      a clock that is           Each of the foregoing Google Audio Players includes a
        configured to provide     clock that is configured to provide a clock time of the
13
        a clock time of the       Google Audio Player. See, e.g., Exs. 68, 95-98.
14      first zone player;
        at least one              Each of the foregoing Google Audio Players includes at
15
        processor;                least one processor. See, e.g., Exs. 68, 95-98.
16      a tangible, non-          Each of the foregoing Google Audio Players includes a
        transitory computer-      tangible, non-transitory computer-readable medium
17
        readable medium;          comprising executable program instructions that enable a
18      and program               Google Audio Player to perform the functions identified
19      instructions stored on    below. See, e.g., Exs. 68, 85, 95-98.
        the tangible, non-
20      transitory computer-
21      readable medium that
        are executable by the
22      at least one processor
23      to cause the first zone
        player to perform
24      functions comprising:
25      receiving a request to    Each of the foregoing Google Audio Players comprises
        enter into a              program instructions that, when executed by a first
26      synchrony group with      Google Audio Player’s at least one processor, cause that
27      at least a second zone    Google Audio Player to receive a request to enter into a
        player that is            synchrony group with at least a second Google Audio
28

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 1             Claim 7                                   Google
 2      communicatively          Player that is communicatively coupled with the first
        coupled with the first   Google Audio Player over a LAN.
 3      zone player over a
 4      local area network    For instance, each of the foregoing Google Audio
        (LAN);                Players is programmed with the capability to receive
 5                            over a local Wi-Fi network (which is a LAN) a request to
 6                            enter into a group of two or more Google Audio Players
                              that are configured to play back audio in synchrony with
 7                            one another, where such a direction is from a
 8                            Chromecast-enabled computing device on the local Wi-
                              Fi network or a Google voice-server that is
 9                            communicatively coupled to the local Wi-Fi network,
10                            among other possibilities. See e.g., Ex. 29 (“Group any
                              combination of Google Nest or Google Home speakers
11                            and displays, Chromecast devices, and speakers with
12                            Chromecast built-in together for synchronous music
                              throughout the home. Your favorite music and audio
13                            from Chromecast-enabled apps are instantly available to
14                            stream.”); Exs. 30, 69, 94, 99, 104, 106.
        in response to        Each of the foregoing Google Audio Players comprises
15
        receiving the request program instructions that, when executed by a first
16      to enter into the     Google Audio Player’s at least one processor, cause that
        synchrony group,      Google Audio Player to, in response to receiving the
17
        entering into the     request to enter into the synchrony group, enter into the
18      synchrony group with synchrony group with the second Google Audio Player,
        the second zone       where the first Google Audio Player is selected to begin
19
        player, wherein the   operating as a slave of the synchrony group and the
20      first zone player is  second Google Audio Player is selected to begin
        selected to begin     operating as a master of the synchrony group, and where
21
        operating as a slave  the clock time of the first Google Audio Player differs
22      of the synchrony      from a clock time of the second Google Audio Player.
        group and the second
23
        zone player is        For instance, each of the foregoing Google Audio
24      selected to begin     Players is programmed such that, in response to
        operating as a master receiving a request to enter into a group of Google Audio
25
        of the synchrony      Players, the Google Audio Player functions to enter into
26      group, and wherein    the group with the one or more other Google Audio
        the clock time of the Players. See e.g., Exs. 29, 30, 69, 94, 99, 104, 106. In
27
        first zone player     such a group, a first Google Audio Player is designated
28      differs from a clock  to operate as a “slave” of the group, and a second Google

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 1             Claim 7                                   Google
 2      time of the second    Audio Player is designated to operate as the “master” of
        zone player;          the group (sometimes referred to by Google as the
 3                            “leader” of the group). Moreover, the respective clock
 4                            times of the first and second Google Audio Players
                              differ.
 5      after beginning to    Each of the foregoing Google Audio Players comprises
 6      operate as the slave  program instructions that, when executed by a first
        of the synchrony      Google Audio Player’s at least one processor, cause that
 7      group:                Google Audio Player to perform the following functions
 8                            after beginning to operate as the slave of the synchrony
                              group.
 9      receiving, from the   Each of the foregoing Google Audio Players comprises
10      second zone player    program instructions that, when executed by a first
        over the LAN, clock Google Audio Player’s at least one processor, cause that
11      timing information    Google Audio Player to, after beginning to operate as the
12      that comprises at     slave of the synchrony group, (i) receive, from the
        least one reading of  second Google Audio Player over the LAN, clock timing
13
        the clock time of the information that comprises at least one reading of the
14      second zone player;   clock time of the second Google Audio Player and (ii)
                              based on the received clock timing information,
15
        based on the received determine a differential between the clock time of the
16      clock timing          first Google Audio Player and the clock time of the
        information,          second Google Audio Player.
17
        determining a
18      differential between  For instance, each of the foregoing Google Audio
        the clock time of the Players is programmed such that, after beginning to
19
        first zone player and operate as a “slave” of a group, the Google Audio Player
20      the clock time of the is configured to (i) receive, from the “master” Google
        second zone player;   Audio Player of the group, clock timing information that
21
                              comprises at least one reading of the clock time of the
22                            “master” player via data packets, such as 62-byte UDP
                              packets, and (ii) based on the received clock timing
23
                              information, determine a differential between its own
24                            clock time and the clock time of the “master” Google
                              Audio Player.
25
        receiving, from the   Each of the foregoing Google Audio Players comprises
26      second zone player    program instructions that, when executed by a first
27      over the LAN, (a)     Google Audio Player’s at least one processor, cause that
        audio information for Google Audio Player to, after beginning to operate as the
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 1              Claim 7                                       Google
 2      at least a first audio    slave of the synchrony group, receive, from the second
        track and (b)             Google Audio Player over the LAN, (a) audio
 3      playback timing           information for at least a first audio track and (b)
 4      information               playback timing information associated with the audio
        associated with the       information for the first audio track that comprises an
 5      audio information for     indicator of a first future time, relative to the clock time
 6      the first audio track     of the second Google Audio Player, at which the first and
        that comprises an         second Google Audio Players are to initiate synchronous
 7      indicator of a first      playback of the audio information for the first audio
 8      future time, relative     track.
        to the clock time of
 9      the second zone           For instance, each of the foregoing Google Audio
10      player, at which the      Players is programmed such that, after beginning to
        first and second zone     operate as a “slave” of a group, the Google Audio Player
11      players are to initiate   is configured to receive, from the “master” Google
12      synchronous               Audio Player of the group, audio information for at least
        playback of the audio     a first audio track and associated playback timing
13      information for the       information that includes an indicator of a first future
14      first audio track;        time, relative to the clock time of the “master” Google
                                  Audio Player, at which the Google Audio Players of the
15                                group are to initiate synchronous playback of the audio
16                                information for the first audio track, where such
                                  information is received via various types of data packets
17                                sent by the “master” Google Audio Player – including
18                                but not limited to 476-byte UDP packets and/or
                                  encrypted TCP packets sent via port 10001. See also,
19
                                  e.g., Ex. 29; Ex. 69, 99, 106.
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 1              Claim 7                                     Google
 2      updating the first       Each of the foregoing Google Audio Players comprises
        future time to account   program instructions that, when executed by a first
 3      for the determined       Google Audio Player’s at least one processor, cause that
 4      differential between     Google Audio Player to, after beginning to operate as the
        the clock time of the    slave of the synchrony group, (i) update the first future
 5      first zone player and    time to account for the determined differential between
 6      the clock time of the    the clock time of the first Google Audio Player and the
        second zone player;      clock time of the second Google Audio Player and (ii)
 7      and                      when the clock time of the first Google Audio Player
 8                               reaches the updated first future time, initiate synchronous
        when the clock time      playback of the received audio information with the
 9      of the first zone        second Google Audio Player.
10      player reaches the
        updated first future     For instance, each of the foregoing Google Audio
11      time, initiating         Players is programmed such that, after beginning to
12      synchronous              operate as a “slave” of a group, the Google Audio Player
        playback of the          is configured to (i) update a first future time of playback
13      received audio           timing information received from the “master” Google
14      information with the     Audio Player of the group to account for a determined
        second zone player.      differential between the “slave” Google Audio Player’s
15                               own clock time and clock time of the “master” Google
16                               Audio Player and (ii) when the clock time of the “slave”
                                 Google Audio Player reaches the updated first future
17                               time, initiate synchronous playback of the received audio
18                               information with the “master” Google Audio Player.
                                 See, e.g., Ex. 29; Ex. 69, 99, 106.
19
20           178. Additionally and/or alternatively, Google has indirectly infringed and
21     continues to indirectly infringe one or more of the claims of the ‘953 Patent, in
22     violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
23     Audio System to directly infringe the one or more claims of the ‘953 Patent. In
24     particular, (a) Google had actual knowledge of the ‘953 Patent or was willfully
25     blind to its existence prior to (at least as early as February 2019), and no later than,
26     the filing of this action (see ¶¶ 35-38 above), (b) Google intentionally causes, urges,
27     or encourages users of the Google Wireless Audio System to directly infringe one
28     or more claims of the ‘953 Patent by promoting, advertising, and instructing

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 1     customers and potential customers about the Google Wireless Audio System and
 2     uses of the system, including infringing uses (see Exs. 20, 29, 60, 61), (c) Google
 3     knows (or should know) that its actions will induce users of the Google Wireless
 4     Audio System to directly infringe one or more claims the ‘953 Patent, and (d) users
 5     of the Google Wireless Audio System directly infringe one or more claims of the
 6     ‘953 Patent. For instance, at a minimum, Google has supplied and continues to
 7     supply Google Audio Players to customers while knowing that use of these products
 8     will infringe one or more claims of the ‘953 Patent, and that Google’s customers
 9     then directly infringe one or more claims of the ‘953 Patent by using these Google
10     Audio Players in accordance with Google’s product literature. See, e.g., id.
11            179. Additionally and/or alternatively, Google has indirectly infringed and
12     continues to indirectly infringe one or more of the claims of the ‘953 Patent, in
13     violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
14     States, and/or importing into the United States, components in connection with the
15     Google Wireless Audio System that contribute to the direct infringement of the ‘953
16     Patent by users of the Google Wireless Audio System. In particular, (a) Google
17     had actual knowledge of the ‘953 Patent or was willfully blind to its existence prior
18     to (at least as early as February 2019), and no later than, the filing of this action (see
19     ¶¶ 35-38 above), (b) Google offers for sale, sells, and/or imports, in connection with
20     the Google Wireless Audio System, one or more material components of the
21     invention of the ‘953 Patent that are not staple articles of commerce suitable for
22     substantial noninfringing use, (c) Google knows (or should know) that such
23     component(s) were especially made or especially adapted for use in an infringement
24     of the ‘953 Patent, and (d) users of devices that comprise such material
25     component(s) directly infringe one or more claims of the ‘953 Patent. For instance,
26     at a minimum, Google offers for sale, sells, and/or imports software updates for
27     Google Audio Players that meet one or more claims of the ‘953 Patent. See, e.g.,
28     Exs. 20, 29, 60, 61, 85. These software updates are material components of the

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 1     Google Audio Players that meet the one or more claims of the ‘953 Patent. Further,
 2     Google especially made and/or adapted these software updates for use in the Google
 3     Audio Players that meet the one or more claims of the ‘953 Patent, and these
 4     software updates are not staple articles of commerce suitable for substantial
 5     noninfringing use. Google’s customers then directly infringe the one or more
 6     claims of the ‘953 Patent by installing and using software updates on the Google
 7     Audio Players.
 8           180. Google’s infringement of the ‘953 Patent is also willful because
 9     Google (a) had actual knowledge of the ‘953 Patent or was willfully blind to its
10     existence prior to (at least as early as February 2019), and no later than, the filing
11     of this action (see ¶¶ 35-38 above), (b) engaged in the aforementioned activity
12     despite an objectively high likelihood that Google’s actions constituted
13     infringement of the ‘953 Patent, and (c) this objectively-defined risk was either
14     known or so obvious that it should have been known to Google.
15           181. Additional allegations regarding Google’s pre-suit knowledge of the
16     ‘953 Patent and willful infringement will likely have evidentiary support after a
17     reasonable opportunity for discovery.
18           182. Sonos is in compliance with any applicable marking and/or notice
19     provisions of 35 U.S.C. § 287 with respect to the ‘953 Patent.
20           183. Sonos is entitled to recover from Google all damages that Sonos has
21     sustained as a result of Google’s infringement of the ‘953 Patent, including, without
22     limitation, a reasonable royalty and lost profits.
23           184. Google’s infringement of the ‘953 Patent was and continues to be
24     willful and deliberate, entitling Sonos to enhanced damages.
25           185. Google’s infringement of the ‘953 Patent is exceptional and entitles
26     Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
27     U.S.C. § 285.
28           186. Google’s infringement of the ‘953 Patent has caused irreparable harm

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 1     (including the loss of market share) to Sonos and will continue to do so unless
 2     enjoined by this Court.
 3              COUNT V: INFRINGEMENT OF U.S. PATENT NO. 10,439,896
 4              187. Sonos incorporates by reference and re-alleges paragraphs 47-55 and
 5     120-136 of this Complaint as if fully set forth herein.
 6              188. Google and/or users of the Google Wireless Audio System have
 7     directly infringed (either literally or under the doctrine of equivalents) and continue
 8     to directly infringe one or more of the claims of the ‘896 Patent, in violation of 35
 9     U.S.C. § 271(a), by making, using, offering for sale, and/or selling the Google
10     Wireless Audio System within the United States and/or importing the Google
11     Wireless Audio System into the United States without authority or license.
12              189. As just one non-limiting example, set forth below is an exemplary
13     infringement claim chart for claim 1 of the ‘896 Patent in connection with the
14     Google Wireless Audio System. This claim chart is based on publicly available
15     information. Sonos reserves the right to modify this claim chart, including, for
16     example, on the basis of information about the Google Wireless Audio System that
17     it obtains during discovery.
18
                 Claim 1                                    Google
19         1. A computing       At least each smartphone, tablet, and computer installed
20         device comprising:   with the Google Home app (where a computing device
                                installed with at least the Google Home app is referred to
21                              herein as a “Chromecast-enabled computing device”5)
22                              comprises a “computing device,” as recited in claim 1. At
                                least each Home Mini, Nest Mini, Home, Home Max,
23                              Home Hub, Nest Hub, Nest Hub Max, Chromecast,
24                              Chromecast Audio, and Chromecast Ultra comprises a
                                “playback device,” as recited in claim 1.
25
26     5
        Each of the Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, and Pixel 4 XL
27     phones, the Pixel Slate tablet, and the Pixelbook and Pixelbook Go laptops installed
       with the Google Home app is an example of a “Chromecast-enabled computing
28     device.”
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 1            Claim 1                                      Google
 2      a user interface;      Each Chromecast-enabled computing device includes a
                               user interface, such as a touchscreen and one or more
 3                             physical buttons. See, e.g., Exs. 40-43, 87-92.
 4
        a network              Each Chromecast-enabled computing device includes a
 5      interface;             network interface, such as a Wi-Fi interface. See, e.g., Exs.
 6                             40-43, 87-92.
 7      at least one           Each Chromecast-enabled computing device includes at
 8      processor;             least one processor. See, e.g., Exs. 40-43, 87-92.
 9
        a non-transitory       Each Chromecast-enabled computing device includes a
10      computer-readable      non-transitory computer-readable medium comprising
        medium; and            program instructions that enable a Chromecast-enabled
11
        program                computing device to perform the functions identified
12      instructions stored    below. See, e.g., Exs. 34, 40-43, 87-92.
        on the non-
13
        transitory
14      computer-readable
        medium that, when
15
        executed by the at
16      least one processor,
        cause the
17
        computing device
18      to perform
        functions
19
        comprising:
20      while operating on     Each Chromecast-enabled computing device comprises
21      a secure wireless      program instructions that, when executed by a Chromecast-
        local area network     enabled computing device’s at least one processor, cause
22      (WLAN) that is         that Chromecast-enabled computing device to, while
23      defined by an          operating on a secure WLAN that is defined by an access
        access point, (a)      point, (a) receive, via a GUI associated with an application
24      receiving, via a       for controlling one or more Google Audio Players, user
25      graphical user         input indicating that a user wishes to set up a Google Audio
        interface (GUI)        Player to operate on the secure WLAN and (b) receive a
26      associated with an     first message indicating that a given Google Audio Player
27      application for        is available for setup.
        controlling one or
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 1            Claim 1                                     Google
 2      more playback          For instance, each Chromecast-enabled computing device
        devices, user input    is programmed with the capability to run the Google Home
 3      indicating that a      app to setup and control Google Audio Players on a secure
 4      user wishes to set     local Wi-Fi network (which is a WLAN) that is defined by
        up a playback          an access point (e.g., a router) to which the Chromecast-
 5      device to operate      enabled computing device is communicatively coupled.
 6      on the secure          See, e.g., Ex. 101 (“The Google Home app will walk you
        WLAN and (b)           through the steps to set up Google Home. . . . Choose the
 7      receiving a first      Wi-Fi network you want to connect to your device. . . .
 8      message indicating     Access your music and movie services.”); Exs. 80, 102,
        that a given           103.
 9      playback device is
10      available for setup;   In particular, while communicatively coupled to a secure
                               local Wi-Fi network, the Chromecast-enabled computing
11                             device is capable of receiving, via a GUI presented by the
12                             Google Home app, user input indicating that a user wishes
                               to set up a Google Audio Player to operate on the secure
13                             local Wi-Fi network. While that Google Audio Player is
14                             operating in a setup mode (e.g., after being plugged into a
                               wall socket for the first time out of the box), the
15                             Chromecast-enabled computing device functions to receive
16                             a message indicating that the Google Audio Player is
                               available for setup (e.g., a message comprising an SSID for
17                             an unsecure wireless network provided by the Google
18                             Audio Player). Examples of these functions are illustrated
                               in the following screenshots.
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 1           Claim 1                                Google
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 1            Claim 1                                     Google
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14                              See also, e.g., Ex. 101 (“7. Scanning for Google Home
15                              devices: The Google Home app scans for nearby devices
                                that are plugged in and ready to set up. Tap the home you
16                              want to add the device to > Next.”).
17
        after receiving the     Each Chromecast-enabled computing device comprises
18      user input and          program instructions that, when executed by a Chromecast-
19      receiving the first     enabled computing device’s at least one processor, cause
        message,                that Chromecast-enabled computing device to, after
20      transmitting a          receiving the user input and receiving the first message,
21      response to the first   transmit a response to the first message that facilitates
        message that            establishing an initial communication path with the given
22      facilitates             Google Audio Player, where the initial communication path
23      establishing an         with the given Google Audio Player does not traverse the
        initial                 access point.
24      communication
25      path with the given     For instance, each Chromecast-enabled computing device
        playback device,        is programmed such that, after receiving user input that
26      wherein the initial     initiates setting up a Google Audio Player on a secure local
27      communication           Wi-Fi network defined by an access point and a message
        path with the given     indicating that the Google Audio Player is available for
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 1            Claim 1                                   Google
 2      playback device     setup, the Chromecast-enabled computing device functions
        does not traverse   to transmit a response to the message that facilitates
 3      the access point;   establishing an initial communication path with the Google
 4                          Audio Player, where the initial communication path is
                            established directly between the Google Audio Player and
 5                          Chromecast-enabled computing device (e.g., via an
 6                          unsecure wireless network provided by the Google Audio
                            Player), as opposed to traversing the access point for the
 7                          secure local Wi-Fi network. See, e.g., Ex. 101 (“8.
 8                          Connecting to your new device: The app will now connect
                            your phone to your new Google Home so that you can
 9                          configure it. Note: You will be prompted with the
10                          following notification during this step, ‘Your phone may
                            disconnect from Wi-Fi during setup’. 9. Making a
11                          connection: We’ll play a sound on the device to make sure
12                          you’re setting up the right device. When you hear the
                            sound, tap Yes.”). An example of this functionality is
13                          illustrated in the screenshots below.
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 1           Claim 1                                    Google
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        transmitting, to the   Each Chromecast-enabled computing device comprises
27      given playback         program instructions that, when executed by a Chromecast-
28      device via the         enabled computing device’s at least one processor, cause

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 1             Claim 1                                Google
 2      initial              that Chromecast-enabled computing device to transmit, to
        communication        the given Google Audio Player via the initial
 3      path, at least a     communication path, at least a second message containing
 4      second message       network configuration parameters, where the network
        containing network   configuration parameters comprise an identifier of the
 5      configuration        secure WLAN and a security key for the secure WLAN.
 6      parameters,
        wherein the          For instance, each Chromecast-enabled computing device
 7      network              is programmed such that, after establishing an initial
 8      configuration        communication path with a Google Audio Player that is
        parameters           being set up to operate on a secure local Wi-Fi network, the
 9      comprise an          Chromecast-enabled computing device functions to
10      identifier of the    transmit, via the initial communication path, network
        secure WLAN and      configuration parameters for the secure local Wi-Fi
11      a security key for   network to the Google Audio Player that include an
12      the secure WLAN;     identifier of the secure local Wi-Fi network and a security
                             key for the local Wi-Fi network. An example of this
13                           functionality is illustrated below.
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 1           Claim 1                                  Google
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27                          See also, e.g., Ex. 101 (“13. Wi-Fi connection: Choose the
                            Wi-Fi network you want to connect to your device. . . . Tap
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 1            Claim 1                                     Google
 2                              OK to use the password you have saved in your phone [or]
                                [t]o manually enter the password, tap Enter manually >
 3                              type in password > Connect.”).
 4
        after transmitting at   Each Chromecast-enabled computing device comprises
 5      least the second        program instructions that, when executed by a Chromecast-
 6      message containing      enabled computing device’s at least one processor, cause
        the network             that Chromecast-enabled computing device to, after
 7      configuration           transmitting at least the second message containing the
 8      parameters,             network configuration parameters, detect an indication that
        detecting an            the given Google Audio Player has successfully received
 9      indication that the     the network configuration parameters.
10      given playback
        device has              For instance, each Chromecast-enabled computing device
11      successfully            is programmed such that, after transmitting to a Google
12      received the            Audio Player a message containing network configuration
        network                 parameters for a secure local Wi-Fi network, the
13      configuration           Chromecast-enabled computing device functions to detect
14      parameters; and         an indication that the Google Audio Player successfully
                                received the network configuration parameters. An
15
                                example of this functionality is illustrated in the following
16                              screenshots.
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 1           Claim 1                                Google
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 1            Claim 1                                     Google
 2      after detecting the   Each Chromecast-enabled computing device comprises
        indication,           program instructions that, when executed by a Chromecast-
 3      transitioning from    enabled computing device’s at least one processor, cause
 4      communicating         that Chromecast-enabled computing device to, after
        with the given        detecting the indication, transition from communicating
 5      playback device       with the given Google Audio Player via the initial
 6      via the initial       communication path to communicating with the given
        communication         Google Audio Player via the secure WLAN that is defined
 7      path to               by the access point.
 8      communicating
        with the given        For instance, each Chromecast-enabled computing device
 9      playback device       is programmed such that, after detecting an indication that a
10      via the secure        Google Audio Player successfully received network
        WLAN that is          configuration parameters for a secure local Wi-Fi network
11      defined by the        defined by an access point, the Chromecast-enabled
12      access point.         computing device functions to transition from
                              communicating with the Google Audio Player via the initial
13                            communication path to communicating with the Google
14                            Audio Player via the secure local Wi-Fi network. See, e.g.,
                              Ex. 101 (“13. Wi-Fi connection: Choose the Wi-Fi network
15                            you want to connect to your device. . . . Tap OK to use the
16                            password you have saved in your phone [or] [t]o manually
                              enter the password, tap Enter manually > type in password
17                            > Connect.”).
18
                              As one example to illustrate, after the Chromecast-enabled
19
                              computing device transitions from communicating with the
20                            Google Audio Player via the initial communication path to
                              communicating with the Google Audio Player via the
21
                              secure local Wi-Fi network, the Chromecast-enabled
22                            computing device is capable of transmitting commands
                              related to playback of audio content to the Google Audio
23
                              Player via the secure local Wi-Fi network, such as a
24                            command for the Google Audio Player to retrieve audio
                              content for playback from an Internet-based music service
25
                              (e.g., YouTube Music, Spotify, Pandora, Google Play
26                            Music, Deezer, TuneIn, iHeartRadio, etc.) that in turn
                              causes the Google Audio Player to retrieve the audio
27
                              content from the Internet-based music service via a
28                            communication path including the secure local Wi-Fi

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 1            Claim 1                                     Google
 2                             network and the Internet. See, e.g., Ex. 30 (“Other ways to
                               control music . . . From the Google Home app[:] 1. Make
 3                             sure your mobile device or tablet is connected to the same
 4                             Wi-Fi as your speaker or display. 2. Open the Google
                               Home app . 3.Tap Play music under the name of the
 5                             device that you want to use. Your device will play music
 6                             from your default music provider. You can pause, resume,
                               change volume and skip forward or backward in the song.”)
 7                             (emphasis in original); Ex. 101 (“Media services: Access
 8                             your music and movie services. . . . Default music service:
                               If you have more than one music service linked, you will be
 9                             asked to select a Default music service: Tap the service you
10                             want to use as default > Next.”); Exs. 104, 105.
11
12           190. Additionally and/or alternatively, Google has indirectly infringed and
13     continues to indirectly infringe one or more of the claims of the ‘896 Patent, in
14     violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
15     Audio System to directly infringe the one or more claims of the ‘896 Patent. In
16     particular, (a) Google had actual knowledge of the ‘896 Patent or was willfully
17     blind to its existence prior to, and no later than, the filing of this action (see ¶¶ 35-
18     38 above), (b) Google intentionally causes, urges, or encourages users of the
19     Google Wireless Audio System to directly infringe one or more claims of the ‘896
20     Patent by promoting, advertising, and instructing customers and potential
21     customers about the Google Wireless Audio System and uses thereof, including
22     infringing uses (see Exs. 34, 35, 79, 80), (c) Google knows (or should know) that
23     its actions will induce users of the Google Wireless Audio System to directly
24     infringe one or more claims the ‘896 Patent, and (d) users of the Google Wireless
25     Audio System directly infringe one or more claims of the ‘896 Patent. For instance,
26     at a minimum, Google has supplied and continues to supply the Google Home app
27     to customers while knowing that installation and/or use of this app will infringe one
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 1     or more claims of the ‘896 Patent, and that Google’s customers then directly
 2     infringe one or more claims of the ‘896 Patent by installing and/or using the Google
 3     Home app in accordance with Google’s product literature. See, e.g., id.
 4           191. Additionally and/or alternatively, Google has indirectly infringed and
 5     continues to indirectly infringe one or more of the claims of the ‘896 Patent, in
 6     violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
 7     States, and/or importing into the United States, components in connection with the
 8     Google Wireless Audio System that contribute to the direct infringement of the ‘896
 9     Patent by users of the Google Wireless Audio System. In particular, (a) Google
10     had actual knowledge of the ‘896 Patent or was willfully blind to its existence prior
11     to, and no later than, the filing of this action (see ¶¶ 35-38 above), (b) Google offers
12     for sale, sells, and/or imports, in connection with the Google Wireless Audio
13     System, one or more material components of the invention of the ‘896 Patent that
14     are not staple articles of commerce suitable for substantial noninfringing use, (c)
15     Google knows (or should know) that such component(s) were especially made or
16     especially adapted for use in an infringement of the ‘896 Patent, and (d) users of
17     devices that comprise such material component(s) directly infringe one or more
18     claims of the ‘896 Patent. For instance, at a minimum, Google offers for sale, sells,
19     and/or imports the Google Home app for installation on devices (e.g., smartphones,
20     tablets, and computers) that meet one or more claims of the ‘949 Patent. See, e.g.,
21     Ex. 34, 35, 79, 80. The Google Home app is a material component of the devices
22     that meet the one or more claims of the ‘896 Patent. Further, Google especially
23     made and/or adapted the Google Home app for use in devices that meet the one or
24     more claims of the ‘896 Patent, and this app is not a staple article of commerce
25     suitable for substantial noninfringing use.       Google’s customers then directly
26     infringe the one or more claims of the ‘896 Patent by installing and/or using the
27     Google Home app on the customers’ devices.
28           192. Google’s infringement of the ‘896 Patent is also willful because

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 1     Google (a) had actual knowledge of the ‘896 Patent or was willfully blind to its
 2     existence prior to, and no later than, the filing of this action (see ¶¶ 35-38 above),
 3     (b) engaged in the aforementioned activity despite an objectively high likelihood
 4     that Google’s actions constituted infringement of the ‘896 Patent, and (c) this
 5     objectively-defined risk was either known or so obvious that it should have been
 6     known to Google.
 7           193. Additional allegations regarding Google’s pre-suit knowledge of the
 8     ‘949 Patent and willful infringement will likely have evidentiary support after a
 9     reasonable opportunity for discovery.
10           194. Sonos is in compliance with any applicable marking and/or notice
11     provisions of 35 U.S.C. § 287 with respect to the ‘896 Patent.
12           195. Sonos is entitled to recover from Google all damages that Sonos has
13     sustained as a result of Google’s infringement of the ‘896 Patent, including, without
14     limitation, a reasonable royalty and lost profits.
15           196. Google’s infringement of the ‘896 Patent was and continues to be
16     willful and deliberate, entitling Sonos to enhanced damages.
17           197. Google’s infringement of the ‘896 Patent is exceptional and entitles
18     Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
19     U.S.C. § 285.
20           198. Google’s infringement of the ‘896 Patent has caused irreparable harm
21     (including the loss of market share) to Sonos and will continue to do so unless
22     enjoined by this Court.
23                                  PRAYER FOR RELIEF
24           WHEREFORE, Sonos respectfully requests:
25           A.     That Judgment be entered that Google has infringed at least one or
26                  more claims of the patents-in-suit, directly and/or indirectly, literally
27                  and/or under the doctrine of equivalents, and that such infringement is
28                  willful;

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 1           B.     An injunction enjoining Google, its officers, agents, servants,
 2                  employees and attorneys, and other persons in active concert or
 3                  participation with Google, and its parents, subsidiaries, divisions,
 4                  successors and assigns, from further infringement of the patents-in-
 5                  suit.
 6           C.     An award of damages sufficient to compensate Sonos for Google’s
 7                  infringement under 35 U.S.C. § 284, including an enhancement of
 8                  damages on account of Google’s willful infringement;
 9           D.     That the case be found exceptional under 35 U.S.C. § 285 and that
10                  Sonos be awarded its reasonable attorneys’ fees;
11           E.     Costs and expenses in this action;
12           F.     An award of prejudgment and post-judgment interest; and
13           G.     Such other and further relief as the Court may deem just and proper.
14                               DEMAND FOR JURY TRIAL
15           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Sonos
16     respectfully demands a trial by jury on all issues triable by jury.
17
18      Dated: January 7, 2020       Respectfully submitted,
19
                                     ORRICK HERRINGTON & SUTCLIFFE LLP
20                                   and
                                     LEE SULLIVAN SHEA & SMITH LLP
21
22                                   By: /s/ Alyssa Caridis
                                        ALYSSA CARIDIS
23
                                        Attorneys for Plaintiff Sonos, Inc.
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